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                           UN ITED STAT ES D ISTRIC T C O UR T
                       FOR TH E SOUTHERN DISTRICT O F FLO RIDA                FILED W        D.G.
                                     M iam iD ivision
                                                                                2Es p8 2213
                       CASE N O.:13-22500-ClV-ALTONAGY Sim onton                œ EM u
                                                                               STEVEN M.à.aST.CT.
                                                                                         LARMA



    UNITED STATES OF AM ERICA
    ex rel.JONATHAN LORD,M .D.,


                 Plaintiff,
                                                           Filed Under Seal
                                                           PursuantTo
                                                           31U.S.C.j3730(b)(2)
    U NIV ER SITY O F M IA M I,


                  D efendant.

                                             /


                        AM ENDED FALSE CLAIM S ACT COM PLAINT

                  JONATHAN LORD (lklkelator'') brings this action on behalfof the UNITED
    STATES OF AM ERICA againsttheUNIVERSITY OF M IAMI(ûûUM '')fortrebledamagesand
    civilpenalties arising from Defendant's conductin violation ofthe FederalFalse Claim s Act

    (û$FCA''),31U.S.C.j3729 etseq.TheviolationsariseoutofrequestsforpaymentbyM edicare,
     TRICARE,M edicaid,and othergovernmentagenciesand program sbased on false claim s.
                  Thisaction is also broughton behalfofthe STA TE OF FLO RID A pursuantto the
           2.
     Florida False ClaimsAct,Fla.Stat.j 68.081 etseq.The violationsarise outofrequests for
     paym entby M edicaid and otherFlorida agenciesand programsbased on falseclaim s.
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                 Relator also brings actions for retaliation under the whistleblower retaliation
   provisions of the Federal FCA, 31 U.S.C. j 3730(h),and the protection for pm icipating

   employeesprovisionsoftheFloridaFCA,j68.088,Fla.Stat.
                                        INTRODUCTION

          4.     This case involves multiple schemes to defraud the M edicare,TRICARE,and

    M edicaid program s through variousUM entities,including,but not lim ited to,UM 's m edical

    school, hospital, and health system . The source of this Com plaint is Relator JON A TH AN

    LORD,M .D.- UM Health System 's fonner Chief Operating Oftk er and Chief Compliance

    Officer.These schemesinvolved billing fornon-covered experim entalsurgicalproceduressnon-

    covered organ transplant laboratory tests and services,medically unnecessary organ transplant

    laboratory tests, services furnished at non-qualified hospital-based outpatient clinics, and

    services furnished atnon-emolled locations.Ata1lrelevanttim es,these schemeswere initiated

    and known throughout UM 's highest cop orate hierarchy, including its President,Board of

    Tnzstees,and chairsatitsvarioushealth system 'sdepartments.
                  The fraudulent schem es involved several departm ents within UM 's Health

    System,including its Department ofM edicine,Department of Surgery,and the University of

    M iam iH ospital and Clinics.The pervasive fraud and false claim s described hereafter,occurred

    atthe U niversity of M iam iM edicalCenter,RosenstielM edicalScience Building,U niversity of

     M iamiHospitaland Clinics,M arlinsPark,andJacksonM emorialHospital(çtJMH'').Bywayof

     exnm ple:
                   From 2007 to thepresent,UM through itsagentsand employeeswithin itsOrgan
            a)
     TransplantDivision in theDepartmentofSurgery conspired and engaged in a scheme to defraud

     the United States and the State of Florida by subm itting false claim s to the M edicare and
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   M edicaid program s.This schem e involved the D epartm entofSurgery's TransplantLaboratories,

   which routinely and consistently submittedbillsto theM edicareand Medicaidprogramsfor(1)
   non-covered services,(2) services billed to and paid by another insurer,and (3) medically
    unnecessary clinicaldiagnostictestsand physician services.
                  From M ay 1,2012,to the present,UM tlzrough its agentsand employeeswithin
           b)
    itsCardiovascularDivision in theDepartmentofM edicine conspired and engaged in aschem eto

    defraud the United States and the State ofFlorida by submitting false claim sto the M edicare,

    TRICARE,and M edicaid program s.Thisscheme involved theCardiovascularDivision routinely

    and consistently submitting billsto the M edicare,TRICARE,and M edicaid program s for non-

    covered services related to an experimental heart catheterization procedure that was never

    approved by the Centers for M edicare and M edicaid Services,as wellas the Food and Dnzg

    Adm inistration.
                  From 2007 to the present,UM through its agents and employees within the

    University of M iamiHospitaland Clinics conspired and engaged in a scheme to defraud the

    United Statesand the State ofFlorida by submitting false claimsto the M edicare,M edicaid,and

    TRICARE progrnm s.This scheme involved off-campus physician facilities located atvarious

    UM Clinics throughout South Florida, such as M arlins Park, that consistently and routinely

    submitted bills to M edicare,M edicaid,and TRICARE as ifthese clinics were hospital-based

     facilitieswithouteverqualifying forhospital-based status.

            6.     Asrequired by theFCA,31U.S.C.j 3730(b)(2),theRelatorhasprovidedto the
     Attom ey Generalofthe United Statesand to theUnited StatesAttorney forthe Southem District

     ofFlorida,sim ultaneous with and/orpriorto the filing ofthisAm ended Com plaint,a statem ent

     of al1 material evidence and information related to the Amended Complaint.This disclosttre
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   statem ent is supported by m aterial evidence known to Relator at the tim e of his filing,
   establishing the existence ofthe Defendant's legalresponsibility forthose false claim s.Because

   the statementincludes attom ey-clientcommunications and work productofRelator'sattorneys,

    and is submitted to the Attorney Generaland to the United StatesAttorney in theircapacity as

    potentialco-counselin thelitigation,theRelatorunderstandsthisdisclosureto beconfidential.

                   Relatorbringsthisaction based on hisdirectknowledge and also on inform ation

    and belief.N oneofthe actionableallegationssetforth inthisAm ended Complaintarebased on a

    public disclosure as setforth in 31U.S.C.j 3730(e)(4).Notwithstanding same,Relatorisan
    originalsourceofthefactsalleged in thisAmended Complaint.

           8.      Asrequired by theFloridaFCA,j68.083,Fla.Stat.,theRelatorhasprovided to
    the appropriateofficialsofFlorida,simultaneouswith and/orpriorto the tiling ofthisAmended

    Complaint,as applicable.Thisdisclosure statementissupported by m aterialevidence known to

    the Relatoratthe time ofthefiling ofthisComplaint,establishing the existence ofDefendant's

    false claims.Because this disclosure statement includes attorney-client communications and

    work product of Relator'sattorneys,and issubmitted to the state agencies in their capacity as

    potentialco-counselin thelitigation,theRelatorunderstandsthisdisclosureto be contidential.

                   This Am ended Com plaintrelatesback to the filing date ofthe O riginalCom plaint

     (Dkt.1)forthepurposeofdemonstratingthattheclaimshereinhavebeentimely brought.This
     action istherefore tim ely.
            10.     Through hisfam iliaritywith UM 'sproceduresatUM 'slocations,Relatorbelieves

     thatthese sam e false and fraudulentpractices may have occurred atotherfacilities which UM

     ownsand operates.
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                                  JU RISDIC TIO N A ND V EN U E

          11. The acts proscribed by 31 U.S.C.j 3729 etseq.and complained of herein
    occurred in partin the Southem DistrictofFlorida,and DefendantUM transacts businessand is

    foundintheSouthernDistrictofFlorida.Therefore,thisCourthasjurisdiction overthiscaseand
    DefendantUM pursuantto 31U.S.C.j 3732(a),aswellas28 U.S.C.j 1345.ThisCourthas

    pendentjurisdiction overthis case for the claim s brought on behalf of the State of Florida
    (referencedin paragraph 2)pursuantto 31U.S.C.j 3732419,inasmuchasrecovery issoughton
    behalfofsaid statewhich arisesfrom the sam etransadionsand occurrencesastheclaim brought

    on behalfofthe United States.

           12. VenueisproperinthisDistrictpursuantto 31U.S.C.j3732(*,becausetheacts
    proscribedby31U.S.C.j3729etseq.and complainedhereintookplaceinthisDistrictandalso
    proper pursuant to 28 U.S.C.j 1391(b) because the claims thatthis Amended Complaint
    describe arose in this District.M oreover,DefendantUM resides in this District and conducts

    businessin thisD istrict.

                                              PA R TIES

                   TheUNITED STATES OF AM ERICA Cdunited States'')fundsthe provision of
    medical care for eligible citizens through M edicare, M edicaid, and other progrnm s, acting

    through the Centers forM edicare and M edicaid Services w ithin the United States D epartm entof

    Health and Hum an Services,and otheragencies.
                      The STA TE OF FLO RIDA , acting through its A gency for H ea1th Care

     Administration,jointlyftmdsitsM edicaidprogram alongwiththeUnitedStates.BoththeUnited
     States and the STATE OF FLORIDA will hereafter be referred collectively as (tthe

     G overnm ent''
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                 Relator, JON A THA N LORD , M .D ., is a citizen of the U nited States and a
   resident of the State of Florida.R elator is a licensed m edical doctor in the State of Florida.

    Between 1997 and 1999,Relator was the Chief Operating Officer of the American Hospital

    Association.In addition,Relator was Chief Irmovation Oftk er and Senior Vice President of

    Humana from 2000 to 2009.On M arch 1,2012,UM PresidentDonna Shalala hired Relatoras

    UM Health System 's Chief Operating Officer,Chief Compliance Officer,Vice President of

    M edical Adm inistration, and Professor of Pathology.UM later forced Relator to resign on

    January 31,2013.
                  Relator's duties included preparing UM Hea1th System 's annual budget,
           a)
    negotiating em ploym ent and collective bargaining contracts,negotiating the Annual Operating

    A greem ent with Jackson M em orial H ospital, structlzring the governance of the various

    departm ents within UM Hea1th System ,overseeing and im plem enting policies on com pliance

    with various health laws including the M edicare and M edicaid programs, and developing

    revenue plans.
           b)     Relator alleges that he directly,independently,and personally observed the
    activities undertaken by the Defendant and its agents and employees.Further,Relatoralleges

    thathe isan originalsource ofthe infonnation provided to the G overnm ent.

           16.    Defendant UM is a Florida nonprotk Corporation engaged in the business of

    owning and operating behavioral health facilities,acute care hospitals,am bulatory surgery and

    radiation centers, clinical diagnostic laboratories, outpatient clinics, and academic medical

    centers.Itisincorporated in the State ofFlorida,its com orate headquarters are located in Coral

     Gables,Florida,and itconductsbusinessthroughouttheUnited States.




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                 A t a1l tim es relevant, Defendant UM acted through its oftieers, agents, and

   employees,and those acts were within the scope oftheiragency and employm ent.The policies

    and practicesalleged in thisAm ended Complaintwere,on infonnation and belief,setorratified

    at the highestcorporate levels of UM .An allegation against any entity herein is intended to

    include UM asaresponsible party,inasmuch asUM istheparenteompany integrally involved in

    each oftheDefendantentities'operations.

                           UM Entities.Offlcers.Azents.And Emplovees
           18.    Thefollowing entitiesareintended to includeal1subsidiariesofUM :

                  a) UniversityofMiamiM illerSchoolofM edicine'
                                                              ,
                  b) UniversityofMiamiHea1th System;
                  c) UniversityofM iamiM edicalGroup;
                  d) UniversityofM iamiHospitalandClinics'
                                                         ,
                  e) UHealth ClinicalPractice;
                      The M inm iTransplantlnstitute'
                                                    ,

                  g) LifeAllianceOrganRecoveryAgency;
                      University ofM iamilm muno-M onitoringLaboratory;

                      U niversity ofM iam iH isto-com patibility Laboratory;

                      University of M iam iM iller School of M edicine DeW itt Daughtry Fam ily

                      Departm entofSlzrgery;

                   k) UniversityofM iamiDivisionofCardiology'
                                                            ,
                      University of M iami Department of Orthopaedics and Biom edical

                      Engineering;

                   m)UHealthPhysicalTherapy Clinic'
                                                  ,and


                                                   7
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                    n) UniversityofM iamiM illerSchoolofM edicineDepartmentofM edicine.
           19.      The term CSU M ''in this Com plaint refers to,but is not lim ited to,the entities set

    forth in paragraph 18 ofthis Am ended Com plaint.

           20.      Donna E.Shalala,PII.D .,hasbeen the PresidentofUM since 2001- itshighest

    corporate officer - and a Professor of Political Science.From 1993 to 2001, she served as

    Secretary ofHealth and Hum an Services,which includesthe CentersforM edicareand M edicaid

    Services.In thatcapacity,she promulgated a majority ofthe regulationsand nlles described
    herein.
           21.      Alan S.Livingstone,M .D .,is/was a Professor of Surgery,Chief Executive at

    UHealth Clinical Practice, Associate Vice President for Clinical Affairs, Chief of Surgical

    ServicesatJackson M em orialHospital,Chiefofthe Division ofSurgery Oncology,Co-M edical

    Director of the University of M iam i M edical Group,Chairman of the Life Allimwe Organ

    Recovery Agency,Acting ClinicalDirectorofthe M iam iTransplantlnstitute,and Chairman of

    theLucilleand DeW ittDaughtry DepartmentofSurgery.
                    Ratic S.W anvar is/w as a V ice Chairm an of the Life A lliance Organ Recovery

    Agency and Vice Chairman forAdm inistration ofthe Lucille and DeW ittDaughtry Department

    of Stzrgery.

              23.   Phillip Ruiz, Jr., M .D ., PIA.D ., is/w as a Professor of Slzrgery, Professor of
    Pathology,D irector of the U niversity of M iam i lm m uno M onitoring Laboratory in the Lucille

    and DeW itt Daughtry Departm ent of Surgery, Director of the University of M iam i Histo-

    Compatibility Laboratory in the Lucille and DeW ittDaughtry Depm m ent of Surgery,and

    DirectoroftheDivision oflm munopathology.
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          24.     W illiam W .O'Neil1,M .D.,is/was a Professor of M edicine atUM ,Executive

   Dean for ClinicalAffairs atUM ,Chief M edical Officer atUM ,Chief Executive Ofticer for

   Research atUM ,Chainnan oftheDepartm entofCardiology atUM ,and M edicalDirectorofthe

    CenterforStructuralHeartDiseaseatHenry Ford Hospitalin Detroit,M ichigan.

                     Lee D.Kaplan,M .D.,is/wasa ProfessorofOrthopaedics atUM ,ChiefofUM 's

    Division ofSportsM edicine,M edicalDirectorofUM 'sAthletics,and M iamiM arlins M edical

    D irectorand Team Physician.

                 THE TH REE M AJOR FEDER AL H EALTH CARE PROGR AM S

                                     A.     The M edicare Program .

           26. In 1965,CongressenactedTitleXV111oftheSocialSecurityAct(;tSSA''),known
    as the M edicare Program , to pay for the costs of certain healthcare services for eligible

    individuals.Eligibility to M edicare isbased on age,disability,oraftliction with certain diseases

    (these eligible individualsare hereafterreferred asdtMedicarebeneticiaries'').See 42 U.S.C.j
    1395 etseq.There existtwo generalcomponentstotheM edicareprogrnm :

           a)        Pa= /k, Nvhich provides insurance for inpatient hospital and hospital-related
    servicesforM edicarebeneficiaries;and

           b)        Part B, which provides insurance for outpatient hospital servicesm and other
    m edical services provided by physicians and other providers to non-hospitalized M edicare

    beneficiaries.
                     At al1 tim es pertinent to this A m ended Com plaint, the M edicare program w as

    administered by the variousstatesthrough private insurance carriers.These caniers contracted

    with theDepartmentofHea1thandHuman Servicesandserved asfiscalintermediaries(iTI'')to
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    receive, adjudicate, and pay M edicare claims submitted to it by M edicare beneficiaries,
    physicians,orproviders ofservices.

           28. The CentersforM edicare and M edicaid Services ($1CM S''),and itspredecessor
    the Health Care Finance Adm inistration,is an agency within the Department of Health and

    H um an Services,and,ata11tim espertinentto thisA m ended Com plaint,w as responsible for the

    operation,administration,and supenision ofthe M edicarehealth insuranceprogram .

                                  B.      The M edicaid Program .

           29.    The M edicaid program ,asenacted underTitle X1X ofthe SocialSecurity Actof

    1965,42 U.S.C.j 1396 etseq.,isa system ofmedicalassistance forfamilieswith dependent
    children and to aged,blind,and disabled individuals(collectively tdM edicaid recipients'')with
    insufficient incom e to pay the costof such services.Though federally created,the M edicaid

    program isajointfederal-stateprogram in which theUnited Statesprovidesasignificantshare
    ofthe funding.

           30.    A t all tim es pertinentto this A m ended Com plaint,federal regulations governing

    the M edicare program ,regarding reimbursementfor the provision ofoutpatientservices,were

    applicabletotheM edicaidprogram intheStateofFlorida,pursuantto42C.F.R.jj440.20(a)(4)
    and 440.220,and the State ofFlorida Title X lX Plan.

           31.    A ta11tim es pertinentto this A m ended Com plaint,pursuantto Florida 1aw and in

    accordance w ith the M edicaid portion ofthe SocialSecurity A ct,the Florida A gency forH ea1th

    Care A dm inistration,and its predecessor the Florida Departm ent of H ea1th and Rehabilitative

     Senices,administered a statewide program whereby these agencies would reim btlrse m edical

     doctorsand otherprovidersforproviding medicalcareto M edicaid recipients.




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                                  C.      The TR ICA RE Program

           32.    TRICAR E M anagem entA ctivity,fonnerly know n as CHA M PU S,is a program of

    the Departm entofDefense thathelps pay forcovered civilian health care obtained by military

    beneficiaries,including retirees,their dependents,and dependents of active-duty personnel. 10

    U.S.C.jj 1079& 1086;32 C.F.R.Part199.TRICARE contractswith fscalintermediariesand
    m anaged carecontractorsto review and pay claim s,includingclaim ssubm itted by UM .

                                       FA LSE CLA IM S A C T

           33.    TheFalseClaim sActprovides,in pertinentpartthat:

           (a)(1)anyperson who (A)knowinglypresents,orcausesto bepresented,afalse
           or fraudulentclaim for payment or approval;(B)knowingly makes,uses,or
           causes to be made or used,a false record or statement m aterial to a false or
           fraudulentclaim;(C)conspiresto commitaviolationof((A)or(B)1;


           is liable to the United States G overnm ent for a civil penalty of not less than
           $5,000 and notmorethan $10,000,plus3tim estheamountofdam ageswhich the
           Governm entsustains because ofthe actofthatperson ...

           (b)Forpurposesofthissection,thetennstçknowing''andStknowingly''meanthat
           aperson,withrespecttoinformation (1)hasactualknowledgeoftheinformation;
           (2)actsin deliberate ignorance ofthetruth orfalsity ofthe information;or(3)
           actsin recklessdisregard ofthetnzth orfalsity ofthe information,and no proofof
           specitic intentto defraud is required.

    31U.S.C.j3729.
           34.    U nderthe False Claim sA ct,a (tclaim ''is defined as:

           A ny request or dem and, whether under a contract or otherwise, for m oney or
           property and w hether or notthe United States has title to the m oney or property
           thatis(1)presented toan officer,employee,oragentoftheUnited States;or(2)
           m adeto acontractor,grantee,orotherrecipient,ifthe money orproperty isto be
           spent or used on the Governm ent's behalf or to advance a Governm ent program
           orinterest.

    31U.S.C.j3729($.
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           35.    The FCA is the governm ent's prim ary tool to recover losses due to fraud and

    abuse by those seeking paym ent from the U nited States.See S.Rep.N o.345,99 Cong.2(1Sess.

    At2(1986),reprintedin 1986U.S.C.C.A.N.5266.
                                           A LLEG A TIO N S

                  U M has routinely subm itted false and fraudulent claim s to the M edicare,

    TRICARE,and M edicaid program s,and ithas done so klknow ingly'',as provided in the A ct.U M

    has been repeatedly advised by a num ber of sources thatthe claim s it has submitted do not

    com ply w ith M edicare, TRICA RE, and M edicaid regulations and are false and fraudulent.

    Nevertheless,UM has failed to take steps to ensure thatclaims and billings are accurate and

    com ply w ith the applicable regulations,and hasinstead continued to subm itclaim s w ith reckless

    disregard oftheirtruth and accuracy,and/oractualknowledgethatthey are falseand fraudulent.

           37.     ln the cotlrse of perfonning his duties,Relator learned that false and fraudulent

    claim s and billings to the M edicare, TRICA RE, and M edicaid program s w ere w idespread

    throughoutU M .From interview sofprogram directors and his own review ofrelated recordsand

    billing histories,Relator identified num erous routine billing practices that produced claim s to

    M edicare,TRICA RE,and M edicaid thatnot only failed to com ply w ith program requirem ents,

    butw ere also false and fraudulent.

           38.    A she dug deeper,and as he attempted to have UM correctthese problem sand

    preventfuture false and fraudulent claim s from being subm itted,Relator learned thatthe illegal

    practicesw ere notonly w ellknow n to U M atthe highestcorporate level,butw ere encotlraged.

           39.     The fraudulentpractices ofw hich Relator learned and in w hich U M continues to

    routinely engageincludethefollowing:
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                                  Relationship B etween UM A nd JM H

           40.     U M through its various healthcare entities, including but not lim ited to those

    described in paragraph 18,generatesapproxim ately $1.7 billion ofsystem -wide yearly revenue.
    A portion ofthis revenue is derived from its affiliation w ith JM H .This affiliation isderived from

    a Basic Affiliation Agreem entthatwasinitially entered in 1952 and was lastupdated in 2004.

    U nder the Basic A ffiliation Agreem ent, UM and JM H agreed to enter into A nnual Operating

    Agreements(çéAOA'')thatsetforth the tiscaland administrativeprovisionsforcarrying outthe
    Basic A ffiliation A greem ent.A true and correct copy of the A O A for FiscalYear 2010-2011 is

    attached hereto as ExhibitCt1''

                   The A OA covers a variety of services furnished by UM faculty atJM H hospitals,

    w hereby U M provides physicians to render services for JM H patients.Because ofthis,the A OA

    describesa range ofcovered services,aswellasthe m echanism forreimbursing UM forthese

    services.

           42.     The AOA utilizes a payment methodology to reimbtzrse UM for the specified

    services.Under the A O A ,JM H w illpay no m ore than a setam ountto U M for allthe services

    described in the AOA.By way ofexam ple,JM H paid UM $130,092,000.00 forFY 2010-2011
    for such services.A portion of that am ount is carved out to U M faculty and other health care

    providersfor(1)directpatientcare services,(2)educationalservicessupport,and (3)hospital
    adm inistration support.Id.at11.The rem ainderofthe setam ountis to be paid to U M foral1the

    otherservices described in the A OA ,such astransplantservices.1d.

           43.     Underthe A OA,the parties setforth the term s and conditionsregarding JM H 'S

    responsibility forbilling and collecting forphysician services forJM H patients.Generally,the

    AOA statesthatsuch servicesaretkintended to be fulfilled by (UMjbilling and collecting for
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    physician servicesfor(JM HIHospitalPatients''.Id.at3.Inadditiontothisgeneralpaymentfor
    direct patient care services,the A OA describes a paym ent m echanism for specific services -

    such astransplantservices- whereby UM billsJM H forthoseservices.

           44.     ln order to obtain paym entfrom JM H for the above speciEe services, U M m ust

    subm it m onthly invoices to JM H.Once JM H receives those invoices, JM H m ust m ovide a

    rem ittance advice along w ith paym entw ithin 45 days ofreceiptofthose invoices.

                    UM 's TransplantLaboratories Fraudulentlv BillN on-covered
                           A nd M edicallv Unnecessarv TestsA nd Sen k es

           45. UM hastwo transplantlaboratories:the lmmuno-monitoring laboratory ($1IML'')
    andthehistocompatibility laboratory (tsl-listoLab'').Although thelM L andtheHistoLabbillas
    separate entities,both utilizethe sam e staff,the sam ephysician,and the same physicalstnzct'
                                                                                                ure

    within UM 's RosenstielM edicalScience Building.Indeed,there exists no visible orphysical

    distinction betweenthetwo.Atal1relevanttim es,every false billoriginated from thisfacility.

           46.    These transplant laboratories are supervised and organized under UM 's

    Departm entofSurgery,which ischaired and exclusively run by Dr.Alan S.Livingstone.Since

    2007,Dr.Livingstoneorchestrated severalschem esto increasetherevenueoftheDepartmentof

    Surgery by defraudingthegovernment'shealthcareprogram s.

           47.    The first schem e involves the transplant laboratories billing and receiving

    paym entfornon-covered laboratory tests.Hospitalsfurnishing transplantservices are the only

    law fulprovider allow ed to subm it any and a11transplant related bills to CM S. Because ofthis,

    any non-transplant hospital laboratory is prohibited from subm itting any bills to CM S for

    transplant laboratory services.Those laboratories mustonly seek paym entfrom the transplant

    hospitalthathired thelaboratory'sservices.




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                   In addition to this prohibition,these non-transplant laboratories ftm zishing tests

    and services to transplant hospital patients are further prohibited from subm itting to CM S a

    globalbillthat includes the technicalcom ponentand professionalcom ponentof laboratory tests

    and services.These laboratoriesm ay only subm itbills for the professionalcomponentoftheir

    services.A n exception existed from 2000 to 2010 thatallow ed certain laboratoriesthathad a pre-

    existing arrangem entw ith a hospitalthatallow ed the laboratory to subm itto CM S a globalbill.

    This exception was f'urther limited to only the services and tests the laboratory furnished to

    hospitalpatientspriorto July 22,1999.

             b)    Here,JM H - thetransplanthospital- contracted with UM - thenon-transplant
    facility - to have U M 's transplantlaboratories ftlrnish tests and servicesto JM H patients.UM 's

    transplantlaboratories,however,submitted billsto,and receivedpaymentsfrom ,thegovernment

    for laboratory tests and services itftm lished to JM H transplantinpatients.Such billing w asand is

    prohibited.

                   Further, U M subm itted global bills to CM S for laboratory tests and services,

    despite never having a pre-existing arrangem ent w ith JM H to globally bill for those tests and

    services.Prior to 2007,JM H itself furnished and billed for the tests and services that U M has

    soughtpaym entfrom 2007 to the present.UM w as and isprohibited from subm itting such global

    bills.

             48.   The second schem e involves UM 's transplant laboratories for furnishing and

    subm itting bills for unsigned and lm requested laboratory tests.U nder the M edicare program ,

    unsigned and unrequested laboratory tests are considered m edically unnecessary for the

    treatmentand evaluation ofpatients.Despite this,UM 's transplant laboratories furnished these

    tests and services,and then submitted and received paym entforthese tests and services from
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    M edicare and M edicaid.A s a result,the transplantlaboratories subm itted and received paym ent

    form edically urm ecessary laboratory tests and services.

                        Relationship Between JM H A Nd UM 's TransplantLaboratories

            49.    The AOA containsaprovision thatallowsJM H to plzrchase avariety oftransplant

    servicesfrom UM including,butnotlimited to,(1)physician servicesrelated to pre-transplant
    workups;(2)physician servicesrelatedtoorgan procurement;(3)histology laboratory services;
    (4) immune-monitoring laboratory services;(5) organ procurement;and (6)staffsupportfor
    JM H transplantcenters.

           50.     TheAOA specifiestherightsand responsibilitiesofUM and JM H in rendering

    transplantservicesto JM H patients.Specitk ally,theAOA states:

            (UM Ishallhavetherighttobillpatientsforservicesperformed byphysicianson
           a direct basis or to third-party reim bursers,w ithin the lim itations of the federal
           regulations forthe End-stage RenalDisease Progrnm ,othertransplantprogram s
           and other applicable laws.(UM ) agrees to establish and/or maintain billing
           practices which are consistentwith regulations of allthird-party payers as they
           affect(JM H)and willnotjeopardizethe relationship of(JM HIwith such third-
           Party Payers.

    Exhibit 1 at21.

                   In perform ing such services,the A OA states that JM H desires to utilize U M 's

    Histo Lab forthe purpose oftissue matehing organsforpotentialtransplantcandidates 1d.The .



    H isto Lab is enrolled to receive M edicare and M edicaid reim bursem ents.

           52.     Atallrelevanttimes,transplantstlrgerieson JM H patientsoccuratJM H , and the

    tissue m atching occurs atU M 's RosenstielM edicalScience Building.

                   Since June 1, 1983,UM has also operated the previously described IM L. The

    1M L performs pre- and post-transplant clinicaldiagnostic tests.Pre-transplantdiagnostic tests

    evaluate the transplant candidate and donor, in order to aid the physician dlzring the

    transplantation. Post-transplant clinical diagnostic tests evaluate the im m unosuppression,

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    tolerance,side effects,infection,and any early graftrejection ofthe transplantpatient.Ata11
    relevant tim es, both the H isto Lab and the lM L are certitied under the Clinical Laboratory

    lmprovementAmendments(ttCLlA''),42U.S.C.j263a.
            54.    UndertheAOA ,JM H m ay utilizeUM 'slM L forJM H patients.W hen thisoccurs,

    U M m ustonly billJM H forthese services on a negotiated case rate basis.Further,U M m ustbill

    JM H for routine pre-transplant laboratory services at the current M edicare rate. Under the

    M edicare program , all inpatient services are billed using the site-of-service code tQ 1''w hich

    denotes that the service was furnished to a hospital inpatient. Further, a1l pre-transplant

    laboratory services are furnished on JM H inpatients and occur at U M 's Rosenstiel M edical

    Science Building.

            55.    O nce the patient has accepted the transplanted organ, JM H w ill discharge the

    patient from its inpatient services. U pon w hich, the patient is transferred for follow-up

    appointm ents w ith U M physicians from the D epartm ent of M edicine. This outpatient care is

    done at JM H affiliated facilities.These physicians will m onitor the patient to ensure that the

    patientdoesnotsuffercom plications from the transplant.

                   U nderthe M edicare program ,outpatientcare m ay be done atone of tw o types of

    facilities:a physician ofsce or an outpatienthospitalfacility.See M edicare Claim s Processing

    ManualCh.26 j 10.5.Thereimbursementamountisdifferentdepending on wheretheservice
    w as furnished.Im portantly,hospitals directly receive reim bursem entfrom the governm entw hen

    billing as a hospitaloutpatientfacility.U M transplantlaboratories - non-hospitalbased facilities

    -   frequently submitted bills to the M edicare program as an outpatient hospital facility in

    violation ofthe A ct.
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           57.     UM 's transplant laboratories generate yearly revenue of approxim ately $25.5
    m illion for U M 'sD epartm entofSurgery. A substantialportion ofthese revenues com e from the

    M edicareand M edicaid programs.

           2. IM L FalselvPresentedBills ToM edicareAndM edicaid ForUncovered Services

           58.     ln and around 2007,Dr.Ruizwasdism issed from UM 'sDepartmentofPathology

    for perform ance related issues.Shortly thereafter, Dr.Livingstone appointed Dr.Ruiz on April

    24,2007,to lead the IM L and the Histo Lab.Despite Dr. Ruiz neverbeing credentialed to run

    these transplant laboratories, as w ell as being the only pathologist w ithin the D epartm ent of

    Surgery, Dr. Ruiz was hired to run these transplant laboratories and only answered to Dr.

    Livingstone.

           59.     U pon assum ing his new position, D r. Ruiz caused certain non-hospital based

    transplantlaboratory tests,such as biopsies,to be billed to the govem m enton behalf ofUM 's

    transplant laboratories.These tests had previously been billed to the governmenton behalf of

    JM H'Shisto lab,which isahospitalbased facility.He also caused UM to seek paymentfrom the

    M edicare program forboth the teclmicaland professionalcomponentforthese tests, instead of

    only the professional component as required under federal law . ln addition to redirecting

    reim bursem ents from the governm ent for certain transplant laboratory tests from JM H to U M   ,


    UM 'stransplant laboratories continued to submitinvoices to JM H forthese sam e services as

    required by the A OA .Thisschem e greatly increased the revenue ofthe transplantlaboratories, as

    wellasU M 'sD epartm entof Surgery.

           60.     The revenues generated by the transplant laboratories have consistently and

    continuously increased despite the numberoftransplantsdeclining from 547 to 308 overthepast

    six years. This largely occurred because Drs. Livingstone and Ruiz through the transplant



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    laboratories began (1)to billMedicare and M edicaid forprocedures thatdo notqualify for
    reimbursement;and(2)continuingtobillJMH forthesameservicesasrequiredbytheAOA               .



                   M edicare reimburses only the hospital for a diagnostic laboratory service

    furnished to an inpatientatthe hospital, regardlessofwhetherthe service was furnished by the

    hospital or an independent laboratory. 42 C.F.R.j 409.16.This rule also exists for organ

    transplants.

           62.     For organ transplants, M edicare reimburses only the transplant hospital for

    services related to (1) the evaluation or preparation of a potential or actual donor, (2) the
    donation of the organ,or (3)postoperative recovery services directly related to the organ
    donation.42 C.F.R.j409.18(b).lncluded within these servicesare laboratory proceduressuch
    as tissue typing and pre-transplantdiagnostic evaluations. M edicare ClaimsProcessing M anual,

    Ch.3 j 90.As a result,an independent laboratory,such as UM 's transplant laboratories,
    furnishing transplant related services m ay only bill the transplant hospital that hired it. Id

    M edicare,then,reimbursesthetransplanthospitalforalltransplantrelated services. 42 C.
                                                                                        F.R.jj
    413.1(d)& 413.172.As a result,only the transplanthospitalcan billM edicare for inpatient
   hospital laboratory tests and services, and not the independent laboratory contracted by the

   transplanthospital.

          63.      Like hospitalinpatients,only the hospitalm ay billforthe technicalcom ponentof

   laboratory tests rendered to hospital outpatients. 42 U .S.C .       1395/(h)(5)(A)(iii). Stated
   differently,ttgwlhenthehospitalobtainslaboratorytestsforoutpatientsunderarrangementswith
   clinical laboratories or other hospitallaboratories, only the hospital can bill for the arranged

   services.''M edicare ClaimsProcessing M anual, Ch.16j40.3.




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           64.     Congresslaterallowed certain contracted orindependentlaboratoriesoflicovered

    hospitals''to directly billM edicare forthe technicaland professionalcom ponents ofpathology

    services.M edicare,M edicaid,and SCHIP Benefits lmprovem ent and Protection Actof 2000

    (:tBlPA''),Pub.L.106-554 j 542(a).ln orderto qualify asa Cûcovered hospital''the hospital
    mustmeetallofthefollowing:(1)an arrangementwith an independentlaboratory thatwasin
    effectas ofJuly 22,1999.
                           ,(2)the arrangementstatesthatthe independentlaboratory wasto
    ftzrnish the technicalcom ponentof a laboratory service to hospitalinpatients or outpatients;and

    (3)theindependentlaboratory - notthe hospital- submitted claimsforpaymentto M edicare
    priortoJuly22,1999.Pub.L.106-554 j542(a)(1).
           65.    BIPA further is lim ited to only those services that the independent laboratory

    provided under the qualified arrangem ent prior to July 22, 1999. See M edicare Claims

    Processing Manual,Ch.16 j 80.2.1 (ûd1fthe arrangementbetween the independentlaboratory
    and the covered hospitallimited the provision of gtechnicalcomponentlphysician pathology
    services to certain situations or atparticular times, then the independent laboratory can bill

    gM edicare)only forthoselimitedservices.'').
           66.    The BIPA grandfather provision was in effect from January 1, 2001, until

   D ecem ber 31,2010,w hen Congress allowed itto expire. Since thisexpiration,Cigaln independent

   laboratory thatfum ishes the technicalcom ponentofphysician pathology services to inpatientsor

   outpatientsofa hospitalthatisnota covered hospitalmay notbillthe carrierforthetechnical

   componentofphysician pathology services.''M edicare Claims Processing M anual, Ch.12 j60

   A (emphasisadded).
                 ln order to com ply w ith the above nzles, independent laboratories must use

   m oditiers on theirbills to denote whetherthe servicesrendered were a teclmicalcomponentor
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    professionalcomponent.Forexample, the é$26''m odifier notes that the services w ithin the bill

    are only for the professionalcom ponent of laboratory services. A 11 bills thatdo not contain the

          m odifier are requesting reim bursement for the technical component, along with the

    professionalcom ponentofthe service.

           68.       ln addition,independent laboratories billing tests furnished to hospitalpatients

    must state on the bill that the site-of-service occurred at the hospital. M edicare Claims

    Processing M anualCh. 26 j 10.6.Specifically,theindependentlaboratory mustusethesite-of-

    service codes EC21''or Ct22''to signify thatthe service was fum ished to a hospitalinpatientor

    outpatient,respectively.

           69.      By way ofexam ple, the IM L through Dr.Ruiz submitted globalbillsand received

    paymentforthefollowing JM H transplantinpatientsto M edicareand M edicaid:

      Patient(initials)            Claim Date               Insurer              Site-of-service
                               (M onthm a A ear)
            K.I.                   10/31/2012               M edicare         zl- llospitallnpatient

           M .B.                   jjyjgygil,               M edicare         2l-llospitalInpatient
            C.O.                   9/26/2012                M edicare         zl- llospitallnpatient

            F.D.                   wag ztjja               M edicare          zl-l-lospitallnpatient

            E.L.                   jjyjgyztljz             M edicare          zl-l-lospitallnpatient

           V .S.                   8y!5u ()j,              M edicare          zl-l-
                                                                                  lospitallnpatient
           H .D .                  s aju tjjy              M edicare          zl-l-lospitallnpatient



   SeeRem ittanceLettersfrom CM S to theIM L, attached hereto asExhibittQ''.

          70.       Asshown,these are al1JM H hospitalinpatientsthatthe IM L received payment

   from CM S in violation of BIPA and 42 C.F.
                                            R.jj 409.18,413.1 & 413.172.The IM L has

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    continuously and consistently sought paym ent for sim ilar bills since D r. Ruiz's 2007

    appointm ent.

                    Prior to the 2007 appointm entofDr. Ruiz,UM 'stransplantlaboratories did not

    billM edicare and M edicaid forcertain physician pathology services. Further,these laboratories

    neverclaim ed to qualify tmderBIPA .Atthattim e,JM H utilized itsown pathology laboratoryto

    ftzrnish the technicalcom ponentofcertain procedures, such as biopsies.Because ofthis,JM H

    did not have an agreem ent with any independent laboratory, including U M 's transplant

    laboratories,to furnish such services.

                    By way ofexnm ple,priorto Dr.Ruiz's2007 appointm ent, hebilled fortransplant

    laboratory proeeduresastakingplace atJM H'Spathology anatom ic serviceslaboratory. N oneof

    these inpatienttransplantlaboratory services occurred atU M 'stransplantlaboratories.

           73.      Once appointed to lead UM 's transplant laboratories in 2007, D r. Ruiz began

    rendering and billing forthe sam e servicesand testshepreviously billed and furnished atJM H .

    Since D r.Ruiz's 2007 appointm ent, the lM L rendered and billed M edicare and M edicaid forthe

    following servicespreviously billed by theJM H pathology laboratory:

                                             Test/C PT Billing C ode

                                         K idney/G lBiopsy 88305
                                         Liver/l-leart/lsung Biopsy 88307
                                         SpecialStain (I)88312
                                         SpecialStain(11)88313
                                         Immunohistochemistry(l)88342
                                         lmmunohistochemistry(11)88360
                                         lm m tm o fluorescence 88346
                                         Electron microscopy 88348
                                         Insituhybridization(FISH orCISH)88365

           74.    At all relevant times since Dr.Ruiz's appointm ent, JM H has simultaneously

   billed M edicare and M edicaid forthetechnicalcomponentofthese servicesaspal4 ofitsbillfor
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    transplanttreatm ent.See Exhibitçd2''. A s stated above,only JM H - the transplanthospital- w as

    law fully allow ed to billforthe above services.

                  UM '
                     s TransplantLaboratoriesPerform edM edicallvUnnecessarvServices

                   Underthe Ad,Etno paym entmay bem ade forany expensesincurred foritem sor

    serviceswhicharenotreasonableandnecessaryforthediagnosisortreatmentofillnessorinjury
    orto im prove the f'
                       unctioning ofa malfonued body mem ber.''42U.S.
                                                                    C.j 1395y(a)(1)(A);see
    also42 C.F.R.j411.15(k)(1).Pertinenthere,diagnostictests,includinglaboratorytests,(tmust
    beordered by the physician who istreating the beneficiary, thatis,thephysician who furnishesa

    consultation ortreats a benetk iary fora specific m edicalproblem and who usesthe resultsin the

    m anagem entofthebeneficiary'sspecificm edicalproblem .''42 C.F.R.j410.
                                                                          32(a).
           76.    Laboratories w ishing to conducta diagnostic test on any m aterialderived from a

    htlman body mustbecertitied by the Secretary underCLIA . PublicHealth ServiceActj353,42

    U.S.C.j 263a.W hen a certified CLIA laboratory wishes to process,perform,and reporta
    histopathology diagnostic test,then theprocessing,perfonuance, and reporting ofsuch testm ust

    be rendered by a licensed and board certified dodorofmedicine, such as a pathologist.See 42

    C.F.R.jj 493.1449,493.1489,& 493.1495.Thus,aCLIA certitied laboratory notmeetingthe
    supervision and testing requirem ents of the CLIA is notperform ing a ûsm edically necessary and

   reasonable''test.

                  ln addition to the requirem ents fol'laboratory tests, laboratory services furnished

   to hospitalpatientscarry additionalrequirem entsto be (tm edically necessary and reasonable''and

   must:(1)be personally furnished for an individualbeneficiary by a physician;(2) directly
   contributeto thediagnosisortreatmentofan individualbeneticiary;and (3)ordinarily require
   performanceby aphysician.42 C.F.R.j415.l02(a).Additionally,theregulationsonly provide
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    reimbursementtopathologistsprovidingthefollowing services:(1)surgicalpathology services;
    (2)specificcytopathology,hematology,and blood banking servicesthathavebeen identified to
    requireperfonnanceby aphysician;(3)arequestedclinicalconsultationservicebyanattending
    physicianthatrelateto an abnonnaltestresultandrequirethe exercise ofmedicaljudgmentby
    the consultantphysician;or (4) a requested clinicallaboratory interpretative service by an
    attendingphysicianthatrequiretheexerciseofmedicaljudgmentbytheconsultantphysician 42         .



    C.F.R.j415.130.
             78.    Theabovepathology servicesm ustproduce awritten nanutive reportand include

    itin the beneficiary's m edicalrecord. Furt
                                              her,thisconsultation pathology service must(1)be
    requestedby thebeneficiary'sattendingphysician;(2)berelated to atestresultthatliesoutside
    the clinically significantnorm alorexpected range in view ofthe condition ofthe beneficiary;

    and (3)require the exercise ofmedicaljudgmentby the consultantphysician 60 Fed.Reg.
                                                                                     .



    63124.

           79.     M edicalproviders who seek reimbursementfor medicalservices from CM S are

   required to com plete prescribed claim form s from CM S. 42 C.
                                                                F.R.j 424.32419.By way of
   exam ple, w hen subm itting claim Form CM S 1500, physicians and/or providers m ake the

   follow ing certification:

          1 certify that the services listed above were m edically indicated and necessary to the
          health ofthispatientand were personally f'um ished by m e or my employee under my
          personaldirection.
          N O TICE:this isto certify thatthe foregoing inform ation is true, accurate and com plete.I
          understand that paymentand satisfaction ofthis claim willbe from Federaland State
          funds,and thatany false claim s, statements,ordocuments,orconcealm entofa material
          fact,m ay beprosecuted underapplicableFederalorstatelaws.
          80.      At allrelevanttim es, UM utilizes the TransplantProgram Infonnation System

   ($1TPlS'')forthe ordering ofclinicaldiagnostic laboratory testsforitstransplantlaboratories       .




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    TPIS is a com puter program thatallow s physicians to electronically order laboratory tests from

    any physical location.Additionally, TPIS allow s for laboratory testprotocols to be pre-loaded

    into it.Theseprotocolscontain aseriesofteststhatarespecificto a certain diagnosis. By having

    protocolspre-loaded into TPIS,a treating physician m ay selectand/orrequestonly the protocol

    and notindividualtestsfora laboratory to furnish. lndeed,protocolsdo nothave to be signed by

    the treating physician before any laboratory, such asthe IM L,views and receives them . A s a

    result,TPIS facilitatesthe subm ission ofan unsigned orderfora seriesofdiagnostic teststo the

    transplantlaboratories.

           81.     The 1M L routinely furnishes laboratory tests on unsigned orders pursuantto the

    IM L'Spreloaded protocols on TPIS.These orders are unsigned because the treating physician

    believes that these laboratory tests are m edically unnecessary. Despite this,UM 's transplant

    laboratoriesperfonn and billthelaboratory testsregardlessofwhethertheorderwassignedby a

    physician. M oreover, D r. Ruiz does not have to be physically present at the transplant

    laboratoriesto sign forlaboratory results.

           82.    By way of exam ple,UM has specitic protocols for each laboratory test, such as

   for post-kidney transplant tests. Protocols such as this contain tests and procedures that

   physicians and other providers felt w ere m edically unnecessary. Because of this, treating

   physicians refused to sign any requisitions, charts,or orders for these tests.Indeed, internale-

   m ails from w ithin IM L voiced these concerns to the Departm entof Surgery. See E-M ailsfrom

   1M L Laboratory M anager, attached hereto as Exhibit $é3''. D espite these concerns, the IM L

   perform ed these tests solely because ofthe protocoland notbecause a physician requested the

   test.The IM L then billed M edicare and M edicaid forthese tests. This was done for multiple

   patientsatatim e.



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          83.    By way ofexample,the following physicianshad 23,570 unsigned laboratory test

    ordersby January 2012:

                                      Last           First        Last
                 Physician           Signed        U nsigned    Un               Tests
                                                                  signed     U
                                     O rder         O rder       O rder          nsigned
               M ATTIAZZI           11/30/2011 11/28/2011        12/2/2011         176
                  TEKIN             11/22/2011 11/22/2011        12/5/2011         360
                 TZA K IS           11/23/2011 11/28/2011       11/28/2011          6
                  DURO                          10/27/2010      02/02/2011          3
                 FERTEL             11/15/2011 11/16/2011        12/5/2011         178
                  LEVI             10/20/2011 11/14/2011        11/16/2011          2
                  ROTH               5/9/2011   4/27/2011        12/2/2011       17258
                 BURKE              12/1/2011 11/29/2011        12/2/2011          35
                CIANCIO            11/14/2011 11/7/2011          12/2/2011       1024
                G UERR A            11/7/2011   11/2/2011       12/2/2011         753
                KLEINER                         12/1/2009       7/29/2011          41
              BAUERLEIN            11/17/2011 11/21/2011        12/1/2011          51
               CHAN DAR                          4/6/2010      10/24/2011          74
                G AR CIA                        1/25/2011        9/2/2011           3
              SA GESHIM A          11/14/2011 8/2/2010         11/30/2011         772
                  CHEN              11/7/2011 11/2/2011         12/2/2011         623
              RODRIGUEZ                        1/19/2010       9/14/2011          301
                ABBAS                            1/5/2010       12/2/2011        497
           BURGOS-TIBURCIO                     11/30/2009      6/18/2010         447
              SAA V ED R A                     3/29/2010       11/21/201l        381
            H ER SH BERG ER                     11/5/2010      11/30/2011         191
           JIM EN EZCA RCA M O                     12/7/2009   11/10/2011        141
             ANDREANSKY                        12/15/2009      11/30/2011        137
                 KU M AR                         1/5/2010        4/6/2011        135
               M A RTIN EZ                      6/11/2010      10/17/2011        135
               R PEREIR A                       8/15/2011      10/24/2011        1l6
                KALM AN                         2/8/2011       11/29/2011        113
                HALPERT                        3/11/2010       11/17/2011        111
              ALEJANDRO                        12/29/2009       8/29/2011        106
                 UPDIKE                        7/26/2010        8/31/2011        89
                NAM IAS                         6/1/2010       10/26/2011        77
             H FERNAN DEZ                      12/1/2009       6/17/2011         61
               IFTIKHAR                        6/28/2010       11/14/2011        59

                                              26
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               TA LM A CIU                    3/17/2011    7/20/2011   58
                   G A IER                    5/10/2010    8/24/2011   56
                 K A PLA N                   12/17/2009    6/21/2011   52
                  SACKEL                      3/17/2010    10/6/2011   52
                    A HN                       6/9/2011     9/7/2011   49
               IQALIDINDI                     5/27/2010   10/13/2011   49
                   KABIR                      10/5/2010     7/6/2011   47
                PAR ED ES                      3/3/2011    8/24/2011   39
                 N EV ILLE                    5/13/2011   10/13/2011   37
                 JIM EN EZ                    1/26/2010   11/17/2011   33
              IN VEROU D I                   5/27/2010    4/20/2011    32
                  M AYOR                     12/15/2009   10/21/2011   32
                  A BITO L                   11/16/2009   7/29/2011    30
              GOLDSTEIN                       12/7/2009   5/31/2011    29
                   CHAO                      12/10/2009    l1/2/2010   28
                N EU H AU S                  3/22/2010     8/9/2010    27
                G O RDON                     9/15/2010    11/9/2011    26
                PFEIFFER                     8/29/2011     9/1/2011    26
               SEQUEIRA                      2/10/2010    9/29/2011    24
                CA LVO                       3/23/2011    7/18/2011    23
               M USHTAQ                      12/9/2010    11/7/2011    23
               CHEDIAK                      2/9/2010       3/29/2010   21
               ESCA LON                     4/8/2010      12/29/2010   21
             FERNANDES                     4/16/2010        4/6/2011   20
               FERRA DA                    4/27/2011       8/29/2011   19
                ABBA SSI                   3/16/2011       12/1/2011   18
              A GA TSTON                   7/28/2010      10/22/2010   18
              CESPEDES                     2/18/2010       11/2/2011   18
              SELVAGGI                      3/9/2010      9/14/2011    18
             ZILLERU ELO                    1/5/2010       11/9/2011   18
                LO SSO S                   2/25/2010       10/7/2011   16
             G O LD BERG                   12/2/2009      9/30/2010    15
              GO OD M AN                   12/9/2009      4/27/2011    15
           SEEHERUN VONG                   7/6/2010        8/9/2011    15
               ANAPOL                      4/5/2011        4/5/2011    14
              PAGELOW                     10/25/2010      8/16/2011    14
               BREBENE                     5/4/2011        5/4/2011    12
                EA STES                   4/19/2011       4/19/2011    12
               PEREIRA                    2/18/2010       9/29/2011    12


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                   VILVA R                   3/4/2010      3/4/2010     11
                 BARREDO                    7/13/2010      11/7/2011    10
                   EA RLY                   4/14/2011      6/3/2011     10
                 M A LLON                    9/8/2010      9/8/2010     10
              SLW GERLAND                  12/27/2010    12/27/2010     10
               STEFAN OVIC                 3/29/2010     10/29/2010     10
                 TH O M A S                 2/9/2011      3/31/2011     10
            CA LDER A-N IEV ES              1/25/2011     6/27/2011     9
           RIV ER A -H ERN AN D E          2/14/2011      2/14/2011     9
                   C OLIN                  2/17/2010      7/18/2011     8
                 R ATZA N                 11/10/2010      2/15/2011     8
                  SN YD ER                 4/20/2011      4/20/2011     8
               BLAUSTEIN                  12/17/2009     6/22/2010      7
                 BOLOOKI                  10/26/2010      8/22/2011     7
              FER CH A K,PA                7/28/2010     08/20/2010     7
                 HENDEL                     2/9/2011      2/9/2011      7
              KOM ANDURI                    6/8/2010     8/30/2011      7
                   OTH ER                 2/24/2010      5/26/2011      7
                   FEUN                     7/1/2010     9/13/2011      6
                 O' BRIEN                 10/5/2010      10/5/2010      6
                 R SCHIFF                 7/15/2010     07/15/2010      6
                  SY M ES                 10/7/2011     11/29/2011      6
                    ABU                    9/9/2010       9/9/2010      5
                   DAVIS                  1/20/2010       6/9/2010     5
              H ERN AN D EZ               5/21/2010     10/19/2011     5
               K OU TO U BY              12/12/2010      3/12/2011     5
                SELVAGY                  12/31/2009      11/3/2010     5
                SM OLLER                 10/20/2010     10/20/2010     5
                 TA LEB I                  6/8/2011       6/8/2011     5
                  BA IER                  11/2/2011      11/2/2011     4
              B OU LAN GER               10/13/2010      4/4/2011      4
                 COH EN                  3/15/2010      11/15/2011     4
              D E LA CRU Z               05/05/2010      7/8/2010      4
                BYRNES                    7/25/2011      9/2/2011      3
               KHURANA                   12/22/2010     12/22/2010     3
               LEVEILLEE                 3/28/2011      3/28/2011      3
                  SM ITH                  6/1/2010       6/7/2010      3
                 ABREU                    9/7/2011       9/7/2011      2
                  AUN G                  9/21/2010      9/21/2010      2


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                  DIAZ W ON G                     7/15/2011     07/15/2011        2
                      LEN Z                       3/30/2010      5/23/2011        2
                     M O DIR                     11/17/2011      11/17/2011       2
              R IN D E-H O FFM A N                7/19/2011      7/19/2011        2
                    SAN D HU                      3/29/2011      5/29/2011        2
                     STU DY                       8/20/2010      8/26/2010        2
                     V A LLE                      3/21/2011      3/21/2011        2
                 W ATERM AN                       12/8/2010      12/8/2010        2
                     Y A SIN                     11/17/2010       9/8/2011        2
              AN D R AD E-BU CK                   3/1/2011        3/1/2011        1
                    AV ISA R                     7/22/2011       7/22/2011        1
                 CONTRERAS                       3/26/2010       3/26/2010        1
                 D ESH PA N DE                    7/1/2010        7/1/2010        1
                      D IA Z                      2/9/2010        2/9/2010        1
                H ARRm G TON                     l1/15/2011     11/15/2011        1
                     LAZAR                      11/15/2010      11/15/2010        1
                   LENNOX                        l1/2/2010       11/2/2010        1
                     LEV Y                      10/29/2010      10/29/2010        1
                 LO K SH W A R                   3/25/2010       3/25/2010        1
                    N ORRIS                      8/19/2010       8/19/2010        1
                    O BRIEN                      9/27/2011      9/27/2011         1
                     PA LA                      10/11/2011      10/11/2011        1
                    SCH IFF                      7/15/2010      7/15/2010         1
                   SHAPIRO                        6/6/2011       6/6/2011         1
                  SO LO W A Y                    9/30/2010      9/30/2010         1
                    W O LFF                      7/21/2011      7/21/2011         1
                   W RIGHT                       3/7/2011        3/7/2011         1
                  RUSCONI            11/14/2011 11/16/2011      12/1/2011        93
                   N ISH IDA         11/22/2011 11/17/2011      12/5/2011      16407
                     PHA M           11/14/4201 11/28/2011      12/5/2011       124
                    BUENO                        2/8/2011        2/8/2011        19
                    KU PIN           11/21/2011 11/16/2011      12/2/2011       961


   SeeListofUnsigned Laboratory OrdersfortheIM L by January 2012, attached hereto asExhibit

   é(zy',

            84.   Despite these unsigned orders, the IM L,by and through Dr. Ruiz, furnished

   laboratory testson these ordersaccording to theuploaded protocolon TPIS. Thereafter,the lM L

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    subm itted a form forpaym enton al1ofthese teststo M edicare orM edicaid forreimbursem ent.

    Indeed,D r.Ciancio,the form er director of U M 's and JM H 'S M inm iTransplant Institute, stated

    tithatitisvery known internally thatthe lab hasbeen performing testswithoutsigned physician

    orders,perform ing known m edically unnecessary testing and questionable billing practices.''See

    TM G M emorandum regardingphonecallfrom Dr. Ciancio,attached hereto asExhibitç(5''.

            85.     Dr.Ruiz and the transplantlaboratoriesbilled forphysician servicesthatdid not

    result in the production of a written narrative. By not fulfilling these obligations and not

    following the required regulations with regard to the fum ishing and rendering of physician

    services,these testsare notconsidered m edically necessary. By certifying thatthese tests were

    m edically necessary on the Form CM S 1500, theIM L requested and received reimbursem entfor

    falsely certified bills.

            86.     The transplant laboratories'unlawfulbilling has occurred on a consistentbasis

    since the 2007 appointm entofDr. Ruiz.Even m ore troubling,Relatorreported thisconductto

   UM 's GeneralCounseland M edicalSchoolDean. As ofthe filing ofthe OriginalComplaint,

   U M hastaken no action to rem edy these violations.

       4. Relaton .4.
                    :UM 's ChiefCompliance Of/l
                                              -cer,RetainedExternalA uditors ToA uditThe
                                          TransplantLaboratories
           87.     Throughout the fall of 2012, UM at Relator's behest hired an independent

   consultant- Transplant ManagementGroup (é1TM G'')- to audit,inter alia, U M 's transplant
   laboratories.The TM G investigation revealed severalfraudulentpractices:(1) thatthe 1M L
   participated in duplicative billing by directly billing the M edicare Program for non- covered

   services;(2)thatthe1ML engaged in inappropriate,unnecessary,and redundanttesting;(3)that
   the1M L performed many tsroutine''laboratory testson JM H patientswhen JM H offersidentical

   servicesatamuch lowercost;and (4)thatthelML splitstestsbetween itselfandtheHisto Lab

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    in orderto gam ethesystem by taking advantageofcost-based reporting forhighercosttestsand

    use the 1M L fordirectM edicare billing on tests w ith higherreim bursem ent.

           88.       ln addition to the December 2012 TM G report, Relator met with UM Board

    M em ber Hilarie Bass,w ho chaired UM 's audit and com pliance com m ittee for U M 's Board of

    Trustees. At that meeting, Relator personally briefed M s. Bass concerning al1 the above

    violations relating to the transplantlaboratories. M oreover,Relatorexpressed his fear thatDr.

    Livingstone and M r. W arwar personally interfered with the TM G audit by personally

    intim idating employeesto nottalk orprovideTM G with any infonnation.

           89.       By w ay of exam ple, D r. Ciancio telephoned TM G and stated that he and

   transplantstaffhave ttbeen instructed from the çhighestlevels'to be vague and standoffish with

    (TM GI,g-
            çïclnotsharetoo much information aboutthe leadership and financialissueswith the
   transplantprogram .''See Exhibit 5.Further, he stated Ctthatthe departm entofstlrgery knows

   exactly how and why the 1ab revenueandprofitshavegrown 10 fold overthepast6 years.''1d.

           90.       Relator also explained these violations to UM 's General Counsel and various

   other m embers on UM 's Board of Tnzstees. ln those discussions, Relator advocated to hire

   experthealthcare legalsupport.Furthermore, Relatormetwith UM 'sPresidentDonna E. Shalala

   to personally update her concerning the above violations and report TM G 'S Gndings. On

   December 19,2012,PresidentShalala responded to these concernsby ending the investigation

   into the transplantlaboratories.See E-M ailfrom G eneralCounselto Com pliance, attached hereto

   as Exhibittd6''

          91.     AherRelator reported TM G'Sfindings, U M tllrough a direct order by President

   Shalala transferred the investigation from Relator to lnternal Audit This transfer effectively
                                                                          .



   ended TM G'Sinvestigation.



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           92.    U M then proceeded to isolate and subsequently dism iss Relator. On January 1,

    2013,PresidentShalalaforced Relatorto resign and requested to recallalle-m ailsrelativetothe

    lM L and recomm ended that no changes should be considered or implem entuntilintem aland

    externalinvestigationsarecompleted.

                 UM Fraudulentlv B illedA n Experim entalCatheterization Procedure

           93.    Due to the breadth ofthe M edicare program , Congress opted against drafting a

    comprehensive list of specific item s or services eligible for coverage. Instead, it sketched

   M edicarebenefitsin abroad stroke with severalbarsto payment, m ostnotably a baron paym ent

   forservices thatékare notreasonable and necessary forthe diagnosis ortreatm entof illness or

   injul'
        y or to improve the functioning               malform ed body m ember.'' 42 U.S.C.

   1395y(a)(1)(A).
          94.     W ithin this Etreasonable and necessary'' criteria, Congress delegated to the

   Secretary of Health and Hum an Services the authority to make initial detenninations about

   w hich specitk item s or services will be covered under M edieare. 42 U.S.C.j 1395ff(a).The

   Secretary m akes these initial detenuinations in one of two ways: a National Coverage

   Determination(CtNCD'')and aLocalCoverageDetermination ($éLCD'').42 U.S.C.j 1395ff(t).A
   N CD is 'ûa detennination by the Secretary w ith respect to whether or not a particular item or

   service is covered nationally.''42 U.S.C.j 1395ff(t)(1)(B).On the other hand,a LCD is a
   detennination by a M edicare contractor, w ho isa private insurance com pany thatprocesses local

   M edicare claim s,w ith respectto whetherornotaparticularitem orservice iscovered within the

   contractor'slocality.42 U.S.C.j 1395ff(t)(2)(B).Further,a NCD isbinding on allM edicare
   contractors.42C.F.R.j405.1060(a)(4).



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           95. Forthe NCD process,CM S adoptsthe Food and Drug Administration (ûûFDA'')
    determ inations of safety and effectiveness. 68 Fed.Reg.55636.As a result,an FDA-approved

    productisaprecondition forM edicarecoverage forcertain products. 1d.

           96. On November 1,2010,Edwards Lifesciences (liEdwards'') filed a Pre-Market
    Approval1 application with the FDA for its new heart valve device: the Edwards SAPIEN

    TranscatheterHeartValve($1THV''
                                  ).Thisdeviceisplacedinpatientswhoseaorticheartvalveis
    damaged and/ordiseased due to calcium build up, which restrictsblood tlow by narrowing the

    valve. This narrowing is known as senile aortic valve stenosis. Over half of the patients

    diagnosedwith aorticvalvestenosisdiewithin twoyearsofdiagnosis.

           97.     Tw o treatm ent regim es exist for aortic valve stenosis.'(1)open heartsurgery to

   replacethedamaged and/ordiseased valve;and (2)transfemoraldelivery ofacatheter2to the
   dam aged and/or diseased valve. The latter procedure is prohibited unless a cardiac surgeon

   determines thatthe patientis too sick for the former. The procedure inserting these devices is

   knownasTranscatheterAorticValveReplacement(tCTAVR'').BecauseofTAVR'Snovelty, itis
   currently undergoing clinicaltrialsin orderto evaluate itssafety and effectiveness. See id.at 7,
                                                                                                  '

   see    also      STS/ACC      TVT      Registry    (hereafter    CtRegistrf), available       at
   httpsr//-     .ncdr.coe Tv T/H om e/D efault.aspx (lastvisited July 11,2013)(a nationalregistry

   that serves as a benchm arking tool developed to track patient safety and real- w orld outcom es

   relatedtoTAVR).


   1The FDA undergoes a process ofscientific and regulatory review to evaluate the safety and
   effectivenessofdevicesthat(1)supportorsustain human life,(2)areofsubstantialimportance
   in preventing impairm entofhum an health, or(3)whichpresentapotential,unreasonablerisk of
   illnessorinjury.TheFood,Drug,and Cosmetic Actj 515,21 U.S.C.j 360e.A Pre-M arket
   Approval applicant must receive FDA approval prior to marketing the device. A s such, an
   approvalisaprivatelicense grantingtheapplicantperm ission tom arketthedevice. Id
   2One device used in the transfem oraldelivery isthe THV .
                                                 33
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           98.     On N ovember 2, 2011, the FDA granted Edwards's Pre-M arket Approval

    application and label.A s such,the FD A allowed Edw ardsto com m ercially distribute its TH V for

    TAVR,aslong asEdwardscontinuesitsprem arketstudy.

           99.     Atallrelevanttimes,Edwards sponsored and continuesto sponsora prospedive,

    randomized-controlled,multi-centerpivotaltrialto evaluatethe safety and effectivenessofTHV .

    ThistrialisknownasthePlacementofAorticTranscatheterValvesTrial(ICPARTNEW ').Since
    September 14,2007,the PARTNER Trialhas been a registered clinicaltrialwith the United

    StatesN ationallnstitutes ofH ea1th.3

           100. Based in parton the suceess ofthe PARTNER trial, as w ell as the Pre-M arket

   A pproval of TH V ,the Society of Thoracic Surgeons and the A m erican College of Cardiology

   jointly submitted on September22,2011,a formalrequestto CM S fora NCD ofTHV and
   TAVR.On M ay 1,2012,CM S issued itsNCD approving M edicare coverageforTAVR butonly

   underspeeified conditions.

           101. Since M ay 1,2012,M edicare covers TA V R w hen furnished under either an FD A

   approved orFDA unapproved use.W hen TAVR isfurnished underan FDA-approved indication,

   then the hospitaland itsheartteam m ustparticipate ûdin a prospective, national,audited registry''.

   MedicareNationalCoverageDeterminationsManualatj20.32(B)(A)(5).Importantly,theonly
   FD A approved TA VR procedtlre is the transfem oral insertion. M edicare N ational Coverage

   DeterminationsM anualatj20.32(B)(A).
           102. TA VR is also covered for uses thatare not expressly listed as an FDA -approved

   indication.Onenon-FDA approved use isthe transaortic insertion ofthe THV . M edicare covers

   such non-FDA approved usesonly in the furtherance ofa clinicalstudy. Id atj 20.
                                                                                 32(B)(B).

   3In an d around M arch 7, 2011,the PARTNER Trialhas evolved into a second trialknow n          as
   PARTNER II,which isalsoregistered with theNIH .
                                                  34
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    Thisclinicalstudy mustbe registered with the governmentpriorto the enrollmentofthe first

    study subject,andmustcomplywith a11applicableFederalregulationsconcerningtheprotection
    ofhuman subjectsfoundat45C.F.R,Part46.Id atj20.32(B)(B)(3)(9 & j20.32(B)(B)(3)()4         .



    Fora1lnon-FDA approved clinicaltrials, M edicare doesnotprovide coverage.

           103. At a1l relevant times,UM participated in the FDA approved PARTNER and

    PA RTNER 11 trials.M oreover, UM was considered a m ain site for both trials. In accordance

    with the TAVR NCD,CM S provided reimbursementto UM for these patients. Despite being

    partofboth clinicaltrials,UM furnished TAVR to patients notenrolled in these or any other

    FDA approved trials.

           104. From M ay through July 2012, UM furnished TAVR to seventeen patients, who

    w ere neverelzrolled in any FD A -approved trial. Forthesepatients,UM inserted THV using the

    transaortictechnique,atechnique thatCM S neverapproved forreimbursement. W illiam O 'N eill,

   who led UM 'sTAVR program atal1relevanttim esto thiscomplaint, ordered and directed that

   UM billM edicare forfurnished servicestothesepatients.

           105. Thefollowinglistcontainstheseventeen(17)patientswhowereneverenrolledin
   any FDA-approved clinical trial or registry thatUM billed to M edicare for TAVR using the

   transaortic technique:

           Patient      D ate ofService        Treating        lnsurer     A pproxim ate
           (initials) (M onthY ay/year)       Physician                       Amount
                                                                             C har ed
             M .B.          5/1/2012       W illi    ,x uj     M edicare         4 54()
                                               am O e                        $33 ,
             A .B.          5/1/2012           Deepak         M edicare
                                           M ummidavarapu                    $174,784
             F.S.           sj7fzojz       Alberto Burgos-    M edicare
                                               Tiburcio                      $429,777


   4The PA RTN ER and PA RTN ER 11trialsw ere com plicittrialsunderthisregulation.
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             A.D.           5/7/2012            syedaAbbas       Tricare       $::1 jj,
                                                                                       >

             D 'S'          5/9/2012            syeda Abbas     M edicare      $424 435
                                                                                       ,

             S.K.           5/14/2012        T                  M edicare
                                                ony Abbassi                    $380,790
             L.F.           5/15/2012            Wi             M edicare
                                                   n Aung                      $267,276
             P.G.          5/22/2012              Deepak        M edicare      $253
                                            M um mida                              ,732
                                                     varapu
             M 'S.          5/23/2012        supan,a Dutta      M edicare     $253
                                                                                       490
                                                                                       ,

             A'T'          5/28/2012             DCQPW          M edicare     $2
                                           M um m idavarapu                      57,338
             H .R.          6/4/2012             Ayesha         M edicare
                                                salahuddin                    $209,963
             A'F'            /5/2012         Alan Heldm an      M edicare    $693 ja()14
                            6                                                      ,       .


             S.M .          6/6/2012        C                   M edicare
                                                ansecoPavon                   $259,338
            T.M .          6/11/2012        Ef                  M edicare
                                                renM anjarrez                $449,261.26
             J.S.          6/12/2012        Ef                  M edicare
                                                renManjarrez                 $210,063.26
             Z.C.          6/13/2012        C                   M edicare
                                                anseco Pavon                  $210,063
            R.M .          7/31/2012            M uzamm il      Tricare       $273
                                                 M usht                                586
                                                                                       ,
                                                       aq


          106. ThetotalamotmtUM billed fortheaboveseventeen patientsis$5,282,713.66.
          107. A tallrelevanttim es,UM billed M edicare forthe above nam ed patients, know ing

   thatnone ofthe patientsw ere enrolled in any FD A approved trialor registry. Thisw as known at

   the highest com orate levels w ithin UM .By w ay of exam ple, UM 'sGeneralCounselstated that

   étgblasedonmyinitialreview,g)itappearsthatthecoveragedetermination istied directlytothe
   FDA approved indicationsonly.Thisdoesnotinclude the transaortic insertion method.''See E-

   M ailfrom Steven Stark to Dr.O'Neill,attached hereto asExhibitçû7''(emphasis added).On
   September23,2012,a physidan involved in the scheme declared thathe Géupdated Pres. Shalala
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    on theissueofCM S (sic)(nonl-reimbursementfornon-transfemoralTAVIacoupleweeksago
    ...   She and 1discussed the politicalapproach to influencing CM S.''See Septem ber 23,2012,E-

    M ailfrom Dr.Heldman,attachedhereto asExhibit(t8''.

              108. ln addition, UM 's own com pliance office recomm ended that UM return all

    monies received from the above seventeen patients. By w ay of exnm ple,Jennifer M ccafferty-

    Cepero,who isUM 's ChiefM edicalCom pliance Officer, wrote a m em orandum on M arch 29,

    2013,reiterating thatthe transaortic insertion technique was notcovered. See M arch 29, 2013

    M emorandum , atlached hereto as Exhibit dt9''. ln that m em o, M s. M ccafferty-cepero

    recommendedtoreturnallmoniesreceivedfortheaboveseventeen(17)patients 1d A tthe tim e
                                                                                    .



    oftheOriginalComplaint,UM did notreturn any moniesrelated tothisprogrnm .

              109. lnstead ofreturning the moniesreceived forthesepatients, UM decided to engage

    in apoliticaleffortwith theaim to legalize these charges. See Exhibit8.This strategy originated

    from U M 's President D onna Shalala. As such UM kmowingly and repeatedly engaged in

   tm law fulbilling ofTA VR patients and hassteadfastly refused to repay any am ount.

              UM m llinz Off-cam pus OutpatientClinics.4J'Provider-Based H osnitalClinics
                            WithoutSatisfvinz TheConditionsForPavm ent
             110. ln orderforan entity to submitpaym entsto M edicare, thatentity m ustfirstenroll

   into the program . 42 U .S.C. j 1395cc;see 42 U.S.
                                                    C.j 1395f(a) (lûExcept as provided in
   subsections(d)and(g)andin section 1876,paymentforservicesfurnishedan individualmaybe
   m ade only toprovidersofserviceswhich are eligible therefortmdersection 1866.'
                                                                                5),
                                                                                  .42 C.F.R.j
   424.505((tToreceivepaymentforcoveredM edicareitemsorservicesfrom eitherMedicare(in
   thecaseofan assignedclaim)oraM edicarebeneficiary (inthecaseofan unassigned claim), a
   provideror supplierm ustbe emolled in the M edicare program . Once enrolled,the provider or

   supplierreceives billing privileges and is issued a valid billing num bereffective forthe date a


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    claim w as subm itted for an item that was fum ished or a service that w as rendered.').W hen

    emolling into M edicare,the applicantm ust identify a11 locations and addresses of where the

    applicantwillfurnishservices.42C.F.R.j424.510(d)(2)(ii).
           111. Once an entity is enrolled in M edicare,the entity m ustreportany changesto its

    em ollm entapplication within 90 daysofthe effective date ofchange. 42 C.
                                                                            F.R.j424.516(e)(2).
    Thisisespecially true when an enrolled provider seeksto add a new service location and have

   that new service loeation bill as the enrolled provider. These ehanges must be reported by

   subm itting a CM S Form 855 every tim e an enrolled provider adds a new location.

                 Before an em olled hospital-based provider m ay bill for services of the new

   facility astheenrolledhospital-based provider, orbeforeitincludesthecostsofthose serviceson

   its cost report, the new facility must meet the criteria listed in 42 C .F.R.j 413.65.These

   facilities may eitherbe tton-campus''orçkoff-campus''to the enrolled provider'smain buildings.

   ûkon-campus''is defined as ktthe physicalarea immediately adjacent to the provider's main
   buildings,otherareasand stnzcttzresthatare notstrictly contiguousto the main buildingsbutare

   located within 250 yardsofthem ain buildings,and any otherareasdetermined on an individual

   case basis,by the CM S regional oftk e,to be part of the m ovider's cnm pus.''42 C.
                                                                                     F.R.j
   413.65(a)(2).ln contrast,ûsoff-campus''additionsmaybebilled asprovider-based iftheaddition
   isw ithin a 35 m ile radius ofthe cam pus ofthe enrolled provider. 42C.
                                                                         F.R.j413.65(e)(3)(ii).
                 For ûsoff-cam pus'' additions that are perform ing services of a kind ordinarily

   furnished in physician oftk es that seek hospitalprovider-based status, the regulations presume

   such an addition is a tdfree-standing facility''and notan extension ofthe enrolled provider. 42

   C.F.R.j 413.65(b)(4). SGted differently, the regulations presume that these facilities are
   physician offices and not hospital outpatient facilities. As discussed above, the M edicare


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    progrnm reim burses facilities at different rates based on where the service was furnished. See

    supra,!55.
                   To indicate the facility ofwhich the servicewasfurnished, providersm ustuse the

    appropriate site-of-service code on the M edicare claims form s. For exam ple, if a service w as

    f'urnished in a physician's office, then the providerm ustuse the site-of-service code t111''. See

    M edicare Claims Processing M anual Ch. 26 j 10.
                                                   5.lf,on the other hand,the senice was
    furnished in an outpatienthospital, then theproviderm ustusethe site-of-servicecode çd22''. Id

                  lfan enrolled hospital-based providerseeksto havea new off-campusfacility bill

    astheprovider,then theemolled providerdtwould berequired to subm itan attestation stating that

    the facility meets the criteria in paragraphs(d)and (e)''of42 C F.R.j 413.65.42 C.F.R.j
                                                                        .



    413.65(b)(3)(ii).Thesepotentialhospitalprovider-based facilitiesmustmeetallofthefollowing
    requirementsin orderto billasthehospitalprovider:(1)thehospitalproviderandtheapplicant
   operateunderthesamelicense;(2)theclinicalservicesoftheentity seeking hospitalprovider-
   based status and the m ain provider are integrated'
                                                     , (
                                                       3)theentity seeking hospitalprovider-based
   statusand the m ain hospitalproviderare fully integrated within the financialsystem ofthem ain

   hospitalprovider,as evidentby the m ain hospitalproviderreadily identifying the new entity in

   its trialbalance on the main hospitalprovider's costreport;(4) the entity seeking hospital
   provider-based status holds itselfoutto the public and other payers aspartofthe m ain hospital

   provider;(5) operate underthe ownership or controlofthe main hospitalprovider;(6)the
   organization seeking hospitalprovider-based statusand the enrolled hospitalprovidermusthave

   the sam e frequency,intensity, and levelofaccountability thatexists in the relationship between

   themainenrolledproviderandoneofitsexistingdepartments;and(7)theentityseekinghospital




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    provider-based statusm ustcom ply w ith a11the term s ofthe m ain provider'sprovider agreem ent.

   42C.F.R.jj413.65(d)& (e).
                  ln addition,ifthenew facility seeking hospitalprovider-based statusisahospital

   outpatientdepartment or hospital-based entity,then certain additionalrequirem ents apply. 42

   C.F.R.j 413.65(d)(5).First,physieian servicesfumished in these facilitiesmustbe billed with
   the correctsite-of-service code so that appropriate physician and practitioner paym ent am ounts

   canbedetermined.42C.F.R.j413.65(g)(2).lnaddition,thesefacilitiesçdmusttreatallM edicare
   patients,for billing purposes,as hospital outpatients''and nottreat som e M edicare patients as

   hospitaloutpatients and others as physician oftice patients. 42 C.
                                                                    F.R.j 413.65(g)(5).Further,
   thesenew facilitiesmustprovide written noticeto the benetk iary priorto the delivery ofservice

   stating:(1)theamountofthebeneficiary'spotentialfinancialliability;or(2)anexplanationthat
   the beneticiary willincura coinsurance liability to the hospitalthatthe benefciary would not

   incurifthe facility were not hospital-based provider,an estim ate ofthe charge, and a statem ent

   thatthe patient's actualliability w illdepend upon the actual services furnished by the hospital.

   42 C.F.R.j 413.65(g)(7)(i).Ifa new facility isbilling asahospitalprovider-based entity and
   doesnotcom ply w ith any ofthe above requirem ents, then the facility isnot a hospitalm ovider-

   based entity and has notm etthe conditions forbilling as a hospitalprovider-based entity
                                                                                          .




                 From 2007 to the present,U M tluough its University of M iam i H ospital and

   Clinics(:tUMHC'')failedtomeettheconditionsdelineatedin42 C.F.R.j413.65,in orderforits
   off-cam pus facilities to bill as the m ain hospital provider - U niversity of M inm i Hospital.

   Am ong the violations,UM doesnottreata11M edicarepatients, forbilling purposesashospital

   outpatients.lnstead,UM arbitrarily treats som e M edicare patients as hospital outpatients and




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       others as physician office patientsin directviolation of42 C.F.
                                                                     R.j413.65(g)(5).Further,UM
       failsto provide itspatients with a w ritten notice com pliantw ith 42 C .F.
                                                                                 R.j413.65(g)(7).
               118. At all tim e relevant, UM provides the following written notice to all its

       outpatients,who incur a coinstzrance liability for their outpatientvisit, atUM HC off-campus

       facilities'
                 .

              l hereby acknowledge that during the course of my care, I m ay be seen in
              provider-based clinics (hospitalclinics) and as such l may be billed by the
              University ofM iami,hospitals,physicians, other healthcare providers and other
              thirdpartieseitherseparatelyorjointly.Furthermore,lherebyacknowledgethat1
              am responsibleforthepaymentofsuch billedservicesastheymaybeadjudicated
              bym y insurerunderm y specitk plan benefit.

              Acknowledge:          (initial)
       See UM Health System ConsentforM edicalTreatmentand Conditions ofAdmission atj 3,
       attachedheretoasExhibit$t12''(emphasisadded).
              119. Noticeably absentfrom UM 'swritten notice arethe requirementsfrom 42 C .F.R.

       j413.65(g)(7)(i):(1)theamountoftheoutpatient'spotentialliability;(2)an explanationthatthe
   beneficiary willincura coinsurance liability to thehospitalthatheorshe would notincurifthe

   facilitywasaphysician'sofficeorsite-of-service 11;(3)an estimatebasedon typicaloraverage
   chargesforvisitstothefacility;or(4)astatementthatthepatient'sactualliability willdepend
   upon the aetualservicesfurnished by thehospital. D espite U M failing to com ply w ith the w ritlen

   notice requirem entin the regulations, UM furnished servicesto theseoutpatientsandbilled these

   outpatientsashospital-based providers.

              120. By w ay ofexam ple,on February 19, 2013,UM furnished servicesto patientA .K .
   -
        a M edicare beneficiary - as a hospitaloftk e visitatan off-campus UM HC facility without

   providing the required written notice.Atthishospitaloftk e visit, UM perform ed a Body M ass

   Index calculation,looked atthe patient'scurrentm edication, conducted a patientscreening,and


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    docum ented that the patient is not using any tobacco products.See February 19, 2013, U M

    lnvoice for Patient A .K . at 2, attached hereto as Exhibit û$13''. Additionally, UM subm itted a

    ldfacility''fee,which is an additional fee only for outpatient hospitalpatients. 1d. at 1.This

    facility fee evidencesthatUM subm itted claim fonnsto the govenmwntwith the site-of-service

    code 22,indicating thatthe site-of-service wasan outpatienthospital-based facility, for services

    furnished to patient A.K. For this and similar elaim s, U M received paym ent from the

    government.1d

           121. UM hascontinuously and consistently submittedbillsto thegovenunentfora11of

    itsoutpatients atoff-campus hospital-based facilities withoutproviding these patients with the

   required written notice and has done so knowingly. U M then subm its claim form s to the

   governm entwith the site-of-servicecode 22,attestingthatthe service wasrendered atahospital-

   based facility.As discussed above, claim form s for these and sim ilar bills contain attestation

   clauses w here U M certifies com pliance w ith the M edicare, M edicaid,and TRICARE laws and

   regulations.Sêe e.g.,supra,! 79 (attestation provision in Fonn CM S 1500).Despite not
   providing the written notice,UM has received payment from the govenunent for these and

   sim ilar bills.M oreover,UM has received numerouspatientcomplaintsregarding thispractice,

   which notify UM ofitsfailure to provide notice.

           122. By way ofexample,UM received atelephone callfrom apatientwho visited an

   off-campusUM HC facility and received afacility fee withoutany priornotitk ation. Thispatient

   stated thatçdshereceived abillstatementfortheamountof$240.06 forthe (-
                                                                        çïcjçhospitalbase
   clinic,'and shecomm unicated thaton previousvisitswith theGeneralM edicineD epartm entthat

   no charges/bills were given to her.g'rhe patient) stated that she was notinformed that the




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    departm entchangesto a hospitalbase clinic, and sheisrequesting a view ofherbill.''See Log of

    PatientCom plaints,attached hereto asExhibit:t14''

           123. Despite these patient complaints, UM continues to submit bills for services

    furnished at off-campus UM HC clinics as site-of-service 22 and charge a facility fee without

    providing the required written notice. W hen presented with this issue, U M opted to create a

    protocolto handle ttpatientissues/complaints''instead ofproviding the requisite notice. See E-

    M ailRegarding ProcessforPatientlssues, attached hereto asExhibitûd15''.

                   Not only does UM failto provide the required written notice, UM arbitrarily

    switchesbetweenbillingpatientsassite-of-service 11(physician officevisit)and 22 (outpatient
    hospital).ThispracticeresultsintreatingsomeM edicarebeneficiariesashospitaloutpatientsand
    others as physician oftice visits, despite fum ishing the sam e service, in direct violation of 42

    C.F.R.j413.65(g)(5).
                  By way of exam ple, UM Rheumatologist Dr. M aria F. Carpintero furnished

   services to patientL.C.- a M edicaid recipient- atan off-campus UM HC facility and billed

   theseservicesasasite-of-service 11(physicianofficevisit)onAugust28, 2012.See UM lnvoice
   of Patient L.C., attached hereto as Exhibit C116''.Indeed,UM sought charges and received

   paym ent for professional services and not for any hospitalservices. A s a result,U M subm itted

   claim forms to the governmentwith the site-of-service code 11 and received paym entforthese

   services.A few m onths later on January 24, 2013,Dr.Carpintero treated the sam e patient and

   furnished largely the sam e servicesatan off-campusUM HC facility, butbilled asan outpatient

   hospital-based facility.1d.There, UM submitted claim swith site-of-service code 22, indicating

   that the services were ftumished at an outpatienthospital-based facility and nota physician's

   office.The govelmm ent,in turn, paid UM forthese charges.Such practiceshave continuously



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    and consistently occurred system -w ide throughoutUM H C since atleast2007. Additionally,U M

    hasexpandedthispracticeto includenew facilitiesofUM HC.

             126. By way ofexam ple,on February 28, 2012,the University ofM iam ientered into a

    contractwith M arlinsStadium Operator,LLC - the entitythatownsand operatesM arlinsPark in

    M iam i,Florida- to use aportion ofM arlinsPark forprivate patientconsultationsand treatment

    in connection with UM 'sphysicaltherapy practice (ClM arlins Clinic'').UM operatesM arlins
    Clinic from M onday through Saturday with varying hours based on whether ornotan eventor

    baseballgame isscheduled forM arlinsPark.

             127. O n the prom enade Level at M arlins Park, U M operates this physical therapy

   clinic underthe nnme $tUHealth PhysicalTherapy Clinic''. Ata11relevanttim es,M arlins Clinic

   billed asthe University ofM inmiHospitals and Clinics (IIUM HC'')without ever submitting
   Form CM S 855 to reportthe M arlinsClinic location asanew location forUM HC.

             128. Ata11relevanttimes,M arlinsClinic islocated at501 NW 16th Avenue, M inm i,

   Florida 33125.UM H is located at 1475 N W 12th Avenue, M iam i,FL 33136.Approxim atelyl.l

   miles separate these two locations.Because this distance is greater than 250 yards, M arlins

   Clinicisan off-cnmpusfacility.

             129. Lee D .K aplan is the UM physician in charge of M arlins Clinic. A ta1l relevant

   tim es,M arlinsClinic generatesrevenue in partfrom M edicare beneficiaries. These patients are

   furnished outpatientphysicaltherapy services- a service ordinarily fum ished ata physician's

   office.As an off-cam pus facility,M arlins Clinic ispresumed to be a free standing physician's

   office.

             130. As stated above,the enrolled providermustlistand accounteach and every off-

   campusfacility thatbillsasaprovider.Underthe regulations, each off-campusfacility billing as


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    the enrolledprovidermustbeaccotmted in thetrialbalance oftheenrolled provider'scostreport.

    UM H C,how ever,om itsM arlins Clinic from its costreport.

                   By way ofexample,UM HC listsallitsoff-cnmpusprovider-based facilitieson its

    trialbalance attached to itscostreport. See U M H FY 2012 CostReportat 17, attached hereto as

    Exhibit 6:10''.Absentfrom this listis M arlinsClinic. Id By notlisting M arlins Clinic,UM HC

    failed to financially integrateM arlinsClinic into UM HC .

                  Atallrelevanttimes,M arlinsClinichasnotsoughta determ ination ofitsprovider

    status.Despitethis,M arlinsClinicbilled and isstillbilling asahospital-based facility - UM HC.

    M arlinsClinic billed as aprovider-based facility despite neversubm itting a Fonn CM S 855 or

    complying with the provider-based billing requirem ents in 42 C .F.R. j 413.65.M oreover,

    M arlins Clinic - like al1 other UM HC outpatient provider-based facilities - never provided

   m itten notice to its M edicare beneficiariespriorto treatm ent.

                  Priorto furnishing and billing aM edicare beneficiary asa provider-based facility,

   M arlinsClinicwasrequiredto inform each and every beneficiarythatthebeneficiary willincura

   coinsurance liability to UM HC that the benetk iary would not incur if the facility was not

   provider-based.Every UM HC outpatientfacility, including M arlinsClinic,failed to provide any

   notice ofthe fee oramountofthe coinsurance liability to incom ing benelciaries. See H ospital

   Outpatients Facility Fees E-M ail, attached hereto as Exhibit ûç1155. M oreover,these facilities

   failedto mention any relationship between the feeand thesite-of-service billing.

          134. M arlinsClinic failed to comply with severalconditionsforbilling asa provider-

   based facility. Despite this, M arlins Clinic continuously and consistently submitted bills to

   M edicare as a provider-based facility. By subm itting these bills as a provider-based facility,




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    M arlins Clinic overbilled the M edicare program by billing for both physician services and

    hospitalfacility fees.

                                                CO U N T I

                                 FALSE CLAIM S ACT VIOLATIONS
                                         31U.S.C.j3729(a)(1)(A)
            135. Theallegationscontained in paragraphs 1through 92 arere-alleged asiffully set

    forth below.

                   Defendant, by and through its officers, agents, supervisors, and em ployees,

    knowingly presented or caused to be presented to the United States Governm ent, false or

    fraudulentclaim sforpaym entby the M edicare, M edicaid,and TRICARE progrnm s,in violation

   of31U.S.C.j3729(a)(1)(A).
           137. The United States paid such false or fraudulent claim s because of the acts of

   D efendant.

                   By reason of the acts and conduct of Defendant in violation of 31 U .S.C.j

   3729(a)(1)(A),theUnited Stateshassufferedactualdamages,includingthetotalamountspaidin
   response to all such false or fraudulent claim s for payment. ln addition,the United States is

   entitled to recover civilm oney penalties, and otherm onetary reliefasdeem ed appropriate.

                   A s setforth in the proceeding paragraphs, D efendanthave know ingly violated 31

   U.S.C.j3729(a)(1)(A)andhavetherebydamaged theUnited Statesby itsactionsin an amount
   to be detennined attrial.

                                               CO UN T 11

                                FALSE CLAIM S ACT VIOLATION S
                                         31U.S.C.j3729(a)(1)(A)
           140. The allegationscontained in paragraphs 1 through 44 and 93 through 109 are re    -




   alleged as iffully setfol'
                            th below .

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           141. Defendant, by and through its officers, agents, supervisors, and em ployees,

    know ingly presented or caused to be presented to the U nited States G ovenzm ent, false or

    fraudulent claim s for paym ent by the M edicare and TRICARE program s, in violation of 31

    U.S.C.j3729(a)(1)(A).
           142. The United States paid such false or fraudulent claims because of the acts of

    Defendant.

           143. By reason of the acts and conduct of Defendant in violation of 31 U .S.C.j

    3729(a)(1)(A),theUnited Stateshassufferedactualdamages,includingthetotalamountspaidin
    response to allsuch false or fraudulent claim s forpayment. ln addition,the United States is

    entitled to recover civilm oney penalties, and othermonetary reliefasdeem ed appropriate.

           144. Assetforth in theproceeding paragraphs, D efendanthave know ingly violated 31

   U.S.C.j3729(a)(1)(A)andhavethereby damagedtheUnited Statesby itsactionsin an amount
   tobedetermined attrial.

                                             C O U NT llI

                               FA L SE C LAIM S A CT V IO LA T IO N S
                                      31U.S.C.j3729(a)(1)(B)
                   The allegationscontained in paragraphs 1through 92 are re-alleged asiffully set

   forth below .

          146. Defendant, by and through its officers, agents, supervisors, and em ployees,

   knowingly made,used,or caused to be made orused, false records or statem ents to get false

   fraudulent claim s paid by the United States Government tmder the M edicare, M edicaid,and

   TRICARE program sin violation of31U .S.
                                         C.j3729(a)(1)(B).
                   The United States paid such false or fraudulent claim s because of the acts of

   Defendant.


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           148. By virtue ofthe false records or statem ents Defendantmade orused, the United

    Stateshas suffered actualdam ages, including the totalam otmts paid in response to allsuch false

    orfraudulentclaim sforpaym ent.ln addition, theUnited Statesisentitled to recovercivilm oney

    penalties,and otherm onetary reliefasdeemed appropriate.

           149. A s setforth in the proceeding paragraphs, Defendanthave knowingly violated 31

    U.S.C.j3729(a)(1)(B)andhavetherebydamaged theUnited Statesby itsactionsinan amotmt
    tobedeterm ined attrial.

                                              COUNT IV

                                FA LSE CLA IM S A C T VIO LA TIO N S
                                         31U.S.C.j3729(a)(1)(A)
           150. Theallegationscontained in paragraphs 1tllrough 44 and 110 through 134 arere      -




   alleged as iffully setforth below .

           151. Defendant, by and through its officers, agents, supervisors, and em ployees,

   knowingly presented or caused to be presented to the United States Governm ent, false or

   fraudulentclaim sforpaymentby the M edicare, M edicaid,and TRICARE program s,in violation

   of31U.S.C.j3729(a)(1)(A).
          152. The United States paid such false or fraudulent claim s because of the acts of

   D efendant.

          153. By reason of the acts and conduct of D efendant in violation of 31 U .S.C.j

   3729(a)(1)(A),theUnited Stateshassuffered actualdamages,includingthetotalamountspaidin
   response to allsuch false or fraudulent claim s for payment. ln addition,the United States is

   entitled torecovercivilm oneypenalties, and othermonetary reliefasdeem ed appropriate.




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           154. A s setforth in the proceeding paragraphs, Defendanthave knowingly violated 31

    U.S.C.j3729(a)(1)(A)andhavetherebydnmaged theUnited Statesby itsactionsin anamount
    to bedetermined attrial.

                                             C O UN T V

                                  FL O RID A FAL SE CLA IM S A CT
                                      j68.081e/seq.,Fla.Stat.
           155. Theallegationscontained in paragraphs 1through 134 arere-alleged asiffully set

    forth below .

                    The allegations and claim sagainstDefendantin thisComplaintalso state claims

   forwhich reliefmay begranted pursuantto the FloridaFalse Claim sAct, jj68.081- 68.09,Fla.

   Stat.

           157. 31U.S.C.j 37324b)providesthatthe Courthasjurisdiction overclaimsunder
   state law thatarise from the smnetransactionsoroccurrences atissue in Countslthrough IV in

   thisFalse ClaimsActadion.

           158. A ccordingly,the claim s alleged in Counts Ithrough IV also encom pass the state

   of Florida's shares of the M edicaid ftmds at issue, together with such additional damages,

   penaltiesand otherreliefasm ay beavailableunderapplicable law .

                                            C O U NT V l

                               FA L SE CLA IM S A CT V IO LATIO N S
                                        31U.S.C.j37304h)
           159. Theallegationscontained in paragraphs 1through 134 arere-alleged asiffully set

   forth below .

           160. Assetforth above,in connection with theforegoing schem e, Defendantconspired

   to getfalse orfraudulentclaimspaid orapproved by the United States, in violation ofthe False

   Claim sA ct.
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            161. As setforth above,Relator JONATHAN LORD was threatened, harassed, and

    discrim inated againstby Defendantas a resultofhis perform ing law fulacts in furtherance ofthis

    action,including hisinvestigating and refusing to participate in Defendant'swrongfulactsand

    conductin violation ofthe False C laim sA ct.

           162. ln orderto redresstheharm shehassuffered asa resultoftheactsand conductof

    D efendant in violation of 31 U .S.C.j 3730(h),JONATHAN LORD is entitled to damages

    including two times the amountof back pay, intereston back pay,and compensation for any

    specialdam age,including em otionaldistress, and any other dam agesavailable by law including

    litigation costs and reasonable attorneys'fees.

                                              C O UN T VIl

                                  FLORIDA FALSE CLAIM S ACT
                                           j68.088,Fla.Stat.
           163. The allegationscontained in paragraphs 1through 134 are re-alleged as iffully set

   forth below.

           164. A ssetforth above,in connection with theforegoing scheme, Defendantconspired

   to get false or fraudulent claim s paid or approved by the State of Florida, in violation of the

   Florida False Claim sA ct.

           165. 31 U.S.C.j 3732419 providesthatthe Courthasjurisdiction overclaimsunder
   state law thatarise from the sam etransactionsoroccurrencesatissue in Counts lthrough IV in

   thisFalse Claim sA ctaction.

           166. As set forth above,Relator JONATHAN LORD was threatened, harassed,and

   discrim inated againstby Defendantasaresultofhisperforming lawfulactsin furtherance ofthis

   action,including his investigating and refusing to participate in Defendant'swrongfulactsand

   conductin violation oftheFloridaFalseClaim sAct.

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           167. ln orderto redresstheharmshehassuffered asa resultofthe actsand conductof

    Defendant in violation of j 68.088,Fla.Stat.,JONATHAN LORD is entitled to damages
    including back pay,intereston back pay, com pensation,and any otherdam agesavailable by 1aw

    including litigation costsandreasonable attorneys'fees.

                                             C O U NT V Il

                                      C O M M O N LAW FR AUD

           168. Theallegationscontained in paragraphs 1through 134 are re-alleged asiffully set

    forth below.

           169. As setforth above,in connection with the foregoing schem e, D efendant falsely

   represented the nature oftheir claim sto the United States forreim bursem entby the M edicare

   and TRICA RE program s and to the State ofFlorida forreim bursem entby the M edicaid program .

   Defendant knew thattheir express and implied representations thatthese claim s for paym ent

   w ere form edically necessary and appropriate m edicalservices were false.

                   These m isrepresentations were m aterial. Defendant'sfalse representationsthatthe

   medicalserviceswere medically necessary and appropriatewereprerequisitesforreim bursem ent

   by M edicare,TRICARE,and M edicaid.

          171. D efendantknew that the U nited States and the State of Florida w ould rely, and

   intend the United Statesand thestateofFloridato rely, on these false representations.

                   The United States and the State of Florida justifiably relied upon false
   representationssubm itted orcaused to be subm itted by Defendant.

                   By reason of Defendant's fraud, the United States and the State of Florida

   suffered dam agesin an amountto be detennined attrial  .




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                                              C O U NT V IIl

                                       UN JU ST EN R ICH M EN T

                    Theallegationscontained in paragraphs 1through 134 arere-alleged asiffully set

    forth below .

            175. As setforth above,in connection with the foregoing scheme,Defendantreceived

    from theUnited States and the State ofFlorida fundsto which they were notentitled,including

    a11 nm ounts paid in response to false or fraudulent claim s for reimbursem ent by M edicare,

    TRICARE,and M edicaid.

            176. D efendant benefited from those funds. H ad the m isconduct of D efendant

    described herein been know n to the officers, em ployees, or agents of the United States

    responsibleforadjudicated and paying M edicareand TRICARE claims,theseclaimspresented
    and/orcausedto bepresented by Defendantwould nothavebeen paid.

                    H ad the m isconduct of D efendant described herein been known to the officers,

    employees,oragentsofthe State ofFloridaresponsible foradjudicated and paying M edicaid
    claim s,these claim s presented and/or caused to be presented by D efendantwould nothave been

    paid.

                    Consequently, Defendant received m oney,directly and indirectly,to which they

    were not entitled. Defendant has therefore been unjustly enriched and the attendant
    circum stances dictate that,in equity and good conscience,the m oney should be returned to the

    U nited States and the state ofFlorida.

                                       PM Y ER FO R RE LIEF

            W HEREFORE,Plaintiffdemandsand praysthatjudgmentbeentered in theirfavorand
    againstDefendantasfollows:


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           179. Form oney dam ages in the am ountofthe United States'dam ages, paym ents,other

    losses, and civil penalties, as are allowable under the False Claim s A ct, for each false or

    fraudulentclaim ,including an award to Relatorasthequitam Plaintiffunder31 U .S.
                                                                                   C.j3730,
    and a11costsofthiscivilaction;

           180. Formoney damages in the amountofthe State ofFlorida's dam ages, paym ents,

    otherlosses,and civilpenalties,as are allowable underthe Florida False Claim s Act, for each

    falseorfraudulentclaim,includingan award to Relatorasthequitam Plaintiffunderj 68085,   .



    Fla.Stat.,and allcostsofthiscivilaction;

                 For money dam ages to redress the hanns personally suffered by Relator,

   including two timesthe am ountofback pay, intereston back pay,frontpay, and com pensation

   for a11 special dnm ages available by law , including em otional distress, litigation costs,and

   reasonable atlorneys'fees;

           l82. For money dam ages in the amountwhich Defendantobtained from the United

   Statesby fraud;

          183. For m oney dam ages in the am otm t whieh D efendant obtained from the State of

   Florida by fraud'
                   ,

          184. Formoney damagesin theamountbywhich Defendantwereunjustlyenriched at
   theexpenseoftheUnited States'
                               ,

          185. Formoneydamagesintheamountbywhich Defendantwereunjustlyemichedat
   theexpenseofthestateofFlorida;

          186. Forinterest,costs,reasonableattorneys'fees, and otherexpenses;and

          187. Fora11such furtherreliefastheCourtmaydeem justandproper.



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                                       JU RY D EM AN D

          Pursuant to Rule 38 of the FederalRules of Civil Procedure, Plaintiff hereby dem ands

    trialbyjury.
                                     Respectfully subm itted this3rd day ofDecember,2013.

                                           ''N       ''
                                            l                 J .!   ,
                                     By:         ,        .   -/.    k>'
                                                                       plN 't.
                                          Jnm esL.Ferraro,Esq.
                                          Florida B arN o.381659
                                          E-Mai1:jlf@ferrazolam com
                                         Jeffrey H .Slom an,Esq.
                                         Florida BarN o.378879
                                         E-M ai1:jhs@ ferrarolaw.com
                                         ChristopherE.Gottfried,Esq.
                                         FloridaBarNo.99780
                                         E-Mail:ceg@ ferrarolaw.com
                                         A ttorneys forRelator
                                         The Ferraro Law Firm ,P.A.
                                         600 BrickellAvenue,Suite 3800
                                         M iam i,FL 33131
                                         Te1:(305)375-0111
                                         Fax:(305)379-6222
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                                     CER TIFIC A TE O F SER V IC E

          IH EREBY CERTIFY thaton this3rd day ofD ecem ber, 2013,1caused an originaland a

    copy ofthisComplaintto betiled undersealand notto be served on the Defendantnam ed herein

    oruntilfurtherorderofthisHonorableCourt.

          IHEREBY CERTIFY thata copy ofthe foregoing ComplaintwassentviaCertified M ail,

    Return ReceiptRequested,this3rd day ofDecember, 2013,to:

                                        W ifredo A.Ferrer,Esq.
                             U.S.Attorney forthe Southern DistrictofFlorida
                                           99N .E.4th Street
                                           M iam i,FL 33132

                                           Eric H older,Esq.
                                 Attorney GeneralfortheUnited States
                                  United StatesDepartm entofJustice
                                        NationalPlaceBuilding
                                           Room 950 North
                                      1331 Pennsylvania Avenue
                                        W ashington,D C 20004

                                            Pam Bondi,Esq.
                                           Attorney General
                                            State ofFlorida
                                           The CapitalPL-01
                                      Tallahassee,FL 32399-1050




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